Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 1of 66

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
UNITED STATES ex rel. ANDREW SHEA, )
)
Plaintiff, J Civil Action No.
) :
Vv. ) FILED UNDER SEAL PURSUANT
) TO 31 U.S.C. § 3730(b)(2)
eHEALTH, INC., eHEALTHINSURANCE )
SERVICES, INC., AETNA LIFE INSURANCE _ )
COMPANY, HUMANA INC., WELLCARE )
HEALTH PLANS, INC., ANTHEM, INC., )
DEVOTED HEALTH, INC., GOHEALTH, INC., ) ms
SELECTQUOTE, INC., and ALLSCRIPTS ) ° = SS
HEALTHCARE, LLC, ) ce ng =
8
Defendants. ) odds
) - | &
FALSE CLAIMS ACT COMPLAINT G3 )|«C®
Te “ow
Ww

‘Andrew Shea (“Relator”) brings this action as a qui tam relator on behalf of the United

States against eHealth, Inc., eHealthInsurance Services, Inc., Aetna Life Insurance Company,
Humana Inc., WellCare Health Plans, Inc., Anthem, Inc., Devoted Health, Inc., GoHealth, Inc.,
SelectQuote, Inc., and AllScripts Healthcare, LLC (collectively, “Defendants”), pursuant to the
gui tam provisions of the False Claims Act, 31 U.S.C. § 3729-33, to recover damages, penalties,
attorneys’ fees and costs, and other relief.
I. PRELIMINARY STATEMENT

1. Defendants have engaged in three types of kickbacks that caused false claims to
the Medicare program.

2. First, the insurance carrier defendants collectively paid eHealthInsurance
Services, Inc., and its parent, eHealth, Inc. (collectively, “eHealth”), tens of millions of dollars in

kickbacks each year with the intent to induce eHealth, a tele-sales insurance broker, to refer

STO ME

Ua id

duldic
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 2 of 66

Medicare-eligible individuals to the carriers’ Medicare Advantage (“MA”) plans,
notwithstanding the express Congressional intent that “agents and brokers . . . enroll individuals
in the Medicare Advantage plan that is intended to best meet their health care needs.” 42 U.S.C.
~ § 1395w-21(j)(2).

3. The insurance carrier defendants made these payments _ which eHealth
commonly referred to as “sponsorship” money — to eHealth on top of commissions and
administrative payments that the Medicare statute and regulations allowed. Cf 42 C.F.R.

§§ 422.2274(a), 422.2274(d), and 422.2274(e).

4. Although the insurance carrier defendants and eHealth purported in their written
contracts to describe the sponsorship money as payment for general advertising or marketing
expenses, rather than as additional compensation for sales of MA policies, the parties’ extra-
contractual communications made clear that the parties entered into quid pro quo arrangements
whereby the insurance carriers paid eHealth sponsorship money in exchange for eHealth’s
commitments to refer MA applications to them. |

5. In some instances, the insurance carrier defendants further conditioned the
sponsorship payments on eHealth reducing the proportion of referrals for disabled Medicare
beneficiaries, even though the Medicare statute and regulations explicitly prohibited such
discrimination among eligible Medicare beneficiaries. See 42 U.S.C. § 1395w-21(g)(1); 42
CER. § 422.110.

6. Over the years, Relator expressed compliance concerns about eHealth’s
relationships with the defendant carriers, but other eHealth executives largely ignored those

concems.
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 3 of 66

7. Second, defendants GoHealth, Inc. (““GoHealth”), and SelectQuote, Inc.
(“SelectQuote”), two other tele-sales insurance brokers, also took kickbacks in the form of
sponsorship money from insurance carriers in exchange for referring Medicare-eligible clients to
the carriers’ MA plans.

8. GoHealth and SelectQuote, and later eHealth, too, used other terms, such as
“marketing development funds,” “co-op marketing funds,” or “Enterprise revenue” to reference
sponsorship money, but there was no substantive difference: the money was in exchange for
referral of MA applications and was on top of permissible commissions and administrative
payments.

9, Third, eHealth paid defendant AllScripts Healthcare, LLC (“AllScripts”), a
supplier of electronic health records (“EHR”) software to physicians and other healthcare
providers, a kickback in the form of a $175 (now $191) referral fee for each MA application that
resulted from a referral AllScripts made to eHealth.

10. AllScripts generated these referrals by identifying Medicare beneficiaries through
its EHR software platform and then contacting the beneficiaries through the platform or via e-
mail or direct mail.

11. | While the Medicare marketing regulations permit certain referral fees, thereby
effectively creating a limited safe harbor from the anti-kickback statute, the regulations do not
permit fees that exceed $100 per referral. See 42 C.F.R. § 422.2274(f); see also Centers for

Medicare and Medicaid Services (“CMS”), Medicare Communications and Marketing

Guidelines, §110.6.3 (Sept. 5, 2018).
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 4 of 66

12. Because the purpose of Defendants’ kickback arrangements was to induce the
referral of MA business that is reimbursed by the Medicare program, the kickbacks violated the
anti-kickback statute. See 42 U.S.C. § 1320a-7b(b). :

13. | The MA plans’ claims to Medicare that resulted from these kickbacks weit false
claims under the False Claims Act. See 42 U.S.C. § 1320a-7b(g).

14. Moreover, the carrier defendants’ kickbacks to eHealth, GoHealth, and
SelectQuote undermined Congressional intent that brokers and agents act only in the best

interests of Medicare beneficiaries. Because of the large sums of money that eHealth, GoHealth,

and SelectQuote received from carriers, the broker defendants had an incentive to cause their

agents to steer Medicare beneficiaries to MA plans that would generate the most remuneration
for the brokers, even if another MA plan, or original Medicare with a Medicare Supplement plan,
might have better served the beneficiaries.

15. In some instances, the kickbacks also induced eHealth to minimize the number of
disabled Medicare beneficiaries it referred to certain carriers, thus undermining the anti-
discrimination provisions in the Medicare statute and regulations.

16. | Meanwhile, eHealth’s kickbacks to AllScripts generated increased referrals to
eHealth agents, who were incentivized to switch vulnerable Medicare beneficiaries from their
current plans so that the agents could earn commissions on selling new plans, even if the new
plans were not better for the beneficiaries.

17. Overall, as described further below, Defendants’ kickback schemes have
contributed to high levels of consumer complaints — commonly involving misleading sales

presentations or enrollment without beneficiaries’ consent — and high rates of “churning” of

Medicare beneficiaries from one plan.to another.
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 5 of 66

18. Prior to the filing of this Complaint, Relator made substantive disclosures to the
government of facts and evidence underlying the allegations in this Complaint, in accordance
with the requirements of the False Claims Act, 31 U.S.C. § 3730(b)(2).

|
19. This action is filed in camera and under seal pursuant to the requirements of the

False Claims Act, 31 U.S.C. § 3730(b)(2).
II. JURISDICTION AND VENUE

20. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and
1345 and 31 U.S.C. § 3732, which confers jurisdiction over actions brought pursuant to 31
U.S.C. §§ 3729 and 3730.

21. - This Court may exercise personal jurisdiction over each of the Defendants, and
venue is appropriate in this Court, under 31 U.S.C. § 3732(a) and 28 U.S.C. § 1391(b), because
each of the Defendants can be found and transacts business in this District.
Il. THE PARTIES

A. Relator

22. Since 2001, Relator has held various positions involving marketing of health
products for adults aged 50 or older. In January 2017, he joined eHealth, and he currently serves
as its Senior Vice President of Marketing. (Technically, he is an employee of defendant
eHealthInsurance Services, Inc.) Until December 31, 2020, his responsibilities at eHealth
included marketing of MA, Medicare Part D, Medicare Supplement, and other insurance plans
through direct mail and direct response television (“DRTV”) advertising. On January 1, 2021,
Relator moved into a new role in which he is responsible for creating a new business incubator

within eHealth’s Medicare division, initially focused on diversifying the products eHealth sells
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 6 of 66

to Medicare beneficiaries, including hospital indemnity and standalone dental-vision insurance.
Relator lives in Missouri.

B. eHealth, Inc., and eHealthInsurance Services, Inc.

23. eHealth, Inc., a Delaware corporation, is a publicly-traded company based in
Santa Clara, California. eHealthInsurance Services, Inc., a Delaware corporation, is a wholly-
owned subsidiary of eHealth, Inc., and is also based in Santa Clara, California. eHealth, Inc., and
eHealthInsurance Services, Inc., share senior management, including the same Chief Executive
Officer, Chief Financial Officer, Chief Operating Officer, and General Counsel.

24, eHealth is an insurance broker and sells MA and other health insurance plans
online and through tele-sales. eHealth’s websites include www.Medicare.com,
www eHTealthMedicare.com, www.PlanPrescriber.com, and www.GoMedigap.com. Hundreds of
insurance agents work for eHealth in call centers and remotely; they speak by telephone with
people who have been contacted by a lead source working on eHealth’s behalf, or who have seen
a telephone number in an eHealth advertisement for Medicare Advantage, either on television, in
a direct mail piece, or online. The agents take information from these individuals, recommend
Medicare or other health insurance plans to them, and then prepare applications that eHealth
submits to insurance carriers. Medicare beneficiaries also can apply for a Medicare insurance
plan directly through one of eHealth’s websites.

25. Consistent with the Medicare statute and regulations requiring Medicare -
insurance agents to enroll Medicare beneficiaries ina plan that “is intended to best meet their
health care needs,” eHealth holds itself out as a carrier-agnostic customer advocate that seeks to
match beneficiaries with plans that are best for them. Thus, for example, in a July 2017 meeting

with CMS Administrator Seema Verma, eHealth represented that its goal was “Fulfilling Every
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 7 of 66

Senior’s Medicare Need through Constant, Unbiased Service.” Similarly, in the company’s most
recent Annual Report, eHealth stated that “Our mission is to connect every person with the
highest quality, most affordable health insurance and Medicare plans for their life circumstance.”
eHealth made these claims even though, in many areas, it offered far fewer than all available MA
plans and directed Medicare beneficiaries primarily to MA plans of carriers that were paying it
large amounts of sponsorship money. |

26. For the years 2018, 2019, and 2020, eHealth’s total annual Medicare seontent
revenues were $210,570,000, $446,961 ,000, and $516,762,000, respectively. During the same
period, an incteasingly large amount of eHealth’s Medicare segment revenue came from

insurance carriers’ sponsorship payments, which were on top of commissions and administrative

payments. eHealth’s annual revenues from Medicare carrier sponsorship in 2018, 2019, and 2020

were $14,367,761, $33,909,235, and $67,046,004, respectively. Put another way, sponsorship
|

money from insurance carriers represented approximately 6.8%, 7.6%, and 13.0% of eHealth’s

total annual Medicare segment revenues during 2018, 2019, and 2020, respectively. During those

years, sponsorship payments accounted for a much larger share of eHealth’s profits from its
|
Medicare business: 23.6% in 2018, 21.8% in 2019, and 65.8% in 2020. In May 2021, an eHealth

executive asserted in an internal company meeting that eHealth’s “sponsorship program has huge
goals, and makes up half of the EBITDA.” :

27. Below isa table of eHealth’s sponsorship revenue, by carrier, during the years

2018, 2019, 2020:
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 8 of 66

po see ¢ sonaage tet

Sc er eee eee Met ee rte tT ete Bes isda

$ 2248,61 § 5,793,195 $ 10,950,400 | $ 18,993,265 |Aetna
$ A41bo44 5 LW G ol$ 7,600,000 Anthem
$ 378261 7,600,005 § 24,990,008 | $ 29,069,266
3 $ 5,500 § 1,500 7S 4,003

$ 3,000 $ 19m § is 4,500 18
$ 2400 § 4 5 2Aou 6
$ 7200 $ $ ~ 1S 7,200 1:
$ 225,600 5 700,000 S$ 235,744 15 Sb, 44 |
$ Iho § es 1,190,000 | $ 1,940,000
s $ 5 an24,o00 | §

$ e's $ 100,000 | $

$ 12500 § 4 25s | 6

s ag,oun § $ - +5

3 pS = a8 1sa,cn0 | §

5 $ a0 § 5,34 [8

$ 5,000,000 $ MSI § 18,500,003 900,000

$ as oa 125,009

§ BbtHo S$ 2b aas § 190,832

$ as ees 26,100

$ a8 50.000 $ 150,000 |

s CF + ES 14083

So 4395,000. $ 3,275,000 $__10,n85,001

3 “Waa67,761 § 33,909,235 § 57,046,004

c Aetna Life Insurance Company

28. Aetna Life Insurance Company (“Aetna”) is a Connecticut corporation with a
principal place of business in Hartford, Connecticut. Aetna is a subsidiary of CVS Health. Aetna
offers and markets MA plans.

D. Humana Inc.

29. Humana Inc. (“Humana”) is a Delaware corporation with a principal place of
business in Louisville, Kentucky. Together with its wholly-owned subsidiaries, including
Humana Insurance Company and Humana MarketPoint, Inc., Humana offers and markets MA
plans.

E. WellCare Health Plans, Inc.

30. WellCare Health Plans, Inc. (*WellCare”), is a Delaware corporation with a
principal place of business in Tampa, Florida. In January 2020, WellCare irae a wholly-

owned subsidiary of Centene Corporation (“Centene”). WellCare offers and markets MA plans.
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 9 of 66

F, Anthem, Inc.

31. Anthem, Inc. (“Anthem”), is an Indiana corporation with a principal place of
business in Indianapolis, Indiana. Anthem is an independent licensee of the Blue Cross and Blue
Shield Association. Together with its subsidiaries, Anthem offers and markets MA plans.

G. Devoted Health, Inc.

32. Devoted Health, Inc. (“Devoted Health”), is a Delaware corporation with a
principal place of business in Waltham, Massachusetts. Together with its wholly-owned
subsidiary, Devoted Health Services, Inc., Devoted Health offers and markets MA plans.

H. GoHealth, Inc.

33. | GoHealth is a Delaware corporation with a principal place of business in Chicago,
Illinois. GoHealth is an insurance broker and sells MA and other health insurance plans online ~
and through tele-sales. Like eHealth, GoHealth represents that it “help[s] individuals find the
best health insurance plan for their specific needs.” Go-Health, 2020 Annual Report at 5 (Mar.
16, 2021).

I. SelectQuote, Inc.

34.  SelectQuote is a Delaware corporation with a principal place of business in
Overland Park, Kansas. SelectQuote is an insurance broker and sells MA and other health
insurance plans online and through tele-sales. Like eHealth and GoHealth, SelectQuote
represents that it “help[s] consumers select the [insurance] option that best suits their needs and
circumstances.” SelectQuote, 2020-2021 Annual Report at 7 (Aug. 26, 2021).

J. AllScripts Healthcare, LLC

35.  AllScripts is a North Carolina limited liability company with a principal place of

‘business in Chicago, Illinois. AllScripts markets and sells EHR software to medical providers.
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 10 of 66

IV. BACKGROUND ON ORIGINAL MEDICARE, MEDICARE PART D, AND
MEDICARE ADVANTAGE

36. In order to be eligible for Medicare, a person must be age 65 or older, be disabled,
or have end-stage renal disease.

37. The “Original Medicare” program (which still exists) has two parts: A and B.

38. Part A covers inpatient stays at hospitals and skilled nursing facilities. For people
who paid sufficient Medicare taxes, Medicare Part A does not have a premium, but it does have a
deductible (currently $1,484) per benefit period (which runs from the date of admission to 60
days from the date of discharge).

39. Part B covers medical services and supplies (including physician-administered
drugs, but not other drugs). Part B coverage requires payment of a monthly premium (cutrently
$148.50). Part B also has an annual deductible (currently $203), and it requires the patient to pay
a 20% coinsurance amount for all covered services.

40. Many people with Part B coverage purchase a separate Medicare Supplement
(sometimes referred to as “MS” or “Medigap”) plan from a private insurer. Medicare
Supplement plans typically cover all or most of Part B coinsurance amounts. :

41. — Almost all medical providers in the United States accept Medicare Part .

42. Since 2006, people eligible for Medicare also may purchase prescription drug
coverage (for non-physician-administered drugs) through a Part D plan (“PDP”) offered by a
private insurer that receives reimbursement from the Medicare program. PDPs have premiums,
deductibles, and a complex coinsurance/co-pay structure.

43.  Asanalternative to Original Medicare, a person eligible for Medicare may
subscribe to an MA plan offered by a private insurer through Medicare Part C. See 42 U.S.C.

§§ 1395w-21-1395w-28. MA plans include the benefits of Parts A and B, and usually Part D.

10
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21. Page 11 of 66

They sometimes offer other benefits, too, such as dental or vision insurance. An MA plan,
however, typically only covers services from a health care provider in the plan’s network. Also,
MA plans with drug coverage have formularies that may limit access to certain drugs.

44. . CMS pays each MA plan a monthly capitation rate for each beneficiary enrolled
as a member of the plan. See 42 U.S.C. § 1395w-23. Ifa beneficiary is also covered by |
Medicaid, then a state Medicaid program also may contribute to the cost of the MA plan.

45. A particular MA plan’s provider network, drug coverage, other benefits, and
premiums may change from year to year. Most Medicare beneficiaries may switch MA plans
once each year, during the Annual Enrollment Period (“AEP”), which runs from October 15 to
December 7. See 42 U.S.C. § 1395w-21(e)(3)(B)(v); 42 C.F.R. § 423.38(b)(3). Medicare
beneficiaries who are also eligible for Medicaid (aka “dual-eligibles”) may switch MA plans up
to four times each year: during the first, second, and third quarters of the year, and again during
the AEP. See 42 C.F.R. § 423.38(c)(4).

V. LEGAL BACKGROUND

A. The False Claims Act

46. The False Claims Act provides, in pertinent part, that any person who:

(A) knowingly presents, or causes to be presented, a false or fraudulent claim for
payment or approval; [or]

(B) knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim;

... is liable to the United States Government for a civil penalty of not less than
$5,000 and not more than $10,000, as adjusted by the Federal Civil Penalties
Inflation Adjustment Act of 1990 (28 U.S.C. 2461 note; Public Law 104-410),
plus 3 times the amount of damages which the Government sustains because of
the act of that person.

31 U.S.C. § 3729(a)(1).

11
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 12 of 66

47. For purposes of the False Claims Act, “the terms ‘knowing’ and ‘knowingly’
mean that a person, with respect to information[,] (i) has actual knowledge of the information;
(ii) acts in deliberate ignorance of the truth or falsity of the information; or (iii) acts in reckless
disregard of the truth or falsity of the information.” 31 U.S.C. § 3729(b)(1)(A). No proof of
specific intent to defraud is required. 31 U.S.C. § 3729(b)(1)(B).

48. The False Claims Act defines the term “claim,” in pertinent part, as

any request or demand, whether under a contract or otherwise, for money or
property and whether or not the United States has title to the money or property,
that (i) is presented to an officer, employee, or agent of the United States; or (11) is
made to a contractor, grantee, or other recipient, if the money or property is to be
spent or used on the Government’s behalf or to advance a Government program
or interest, and if the United States Government--(I) provides or has provided any
portion of the money or property requested or demanded; or (II) will reimburse
such contractor, grantee, or other recipient for any portion of the money or
property which is requested or demanded[.]

31 U.S.C. § 3729(b)(2).
B. The Anti-Kickback Statute
49. The AKS makes it illegal either to:

(1). .. knowingly and willfully solicit[] or receive[] any remuneration (including

any kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash

or in kind—
(A) in return for referring an individual to a person for the furnishing or |
arranging for the furnishing of any item or service for which payment may
be made in whole or in part under a Federal health care program, or !
(B) in return for purchasing, leasing, ordering, or arranging for or
recommending purchasing, leasing, or ordering any good, facility, service,
or item for which payment may be made in whole or in part under a
Federal health care program. . . [or]

(2). .. knowingly and willfully offer[] or pay[] any remuneration (including any
kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in
kind to any person to induce such person—
(A) to refer an individual to a person for the furnishing or arranging for the
furnishing of any item or service for which payment may be made in
whole or in part under a Federal health care program, or

12
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 13 of 66

(B) to purchase, lease, order, or arrange for or recommend purchasing,

leasing, or ordering any good, facility, service, or item for which payment

may be made in whole or in part under a Federal health care program. . . .
42 U.S.C. § 1320a-7b(b). Thus, the AKS prohibits, among other things, monetary inducements to
“refer an individual to a person for the furnishing . . . of any item or service” (such as an MA
plan) reimbursed by a Federal health care program.

50.  “[A] claim that includes items or services resulting from a violation of [the AKS]

constitutes a false or fraudulent claim for purposes of [the False Claims Act].” 42 US.C.
§ 1320a-7b(g).

51.  “[A] person need not have actual knowledge of [the AKS] or specific intent to

commit a violation of [the AKS].” 42 U.S.C. § 1320a-7b(h).

C. Rules Concerning the Marketing of MA Plans

52. There are rules concerning the marketing of MA plans in the Medicare statute and

CMS regulations, and there is guidance interpreting those rules in CMS’s Medicare
Communications and Marketing Guidelines (“MCMG”) and the Federal Register notices
accompanying the regulations and proposed regulations.

53. The Medicare statute contains certain broad prohibitions and requirements,

including:

- Anti-Discrimination. “A Medicare Advantage organization may not deny, limit, or
condition the coverage or provision of benefits under this part, for individuals
permitted to be enrolled with the organization under this part, based on any health
status-related factor. ...” 42 U.S.C. § 1395w-22(b)(1). Likewise, an MA plan must
“accept without restrictions individuals who are [Medicare] eligible.” 42 U. S. C.

§ 1395w-21(g)(1).

- Compensation Limitations, “The Secretary [i.e., CMS] shall establish limitations with

respect to .. . [t]he use of compensation other than as provided under guidelines

established by the Secretary. Such guidelines shall ensure that the use of
compensation creates incentives for agents and brokers to enroll individuals in the

13
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 14 of 66

Medicare Advantage plan that is intended to best meet their health care needs.” 42
U.S.C. § 1395w-21(j)(2)(D).

54. | CMS first set compensation limits for MA plan brokers and agents in 2008. See
generally 42 C.F.R. § 422.2274. In initially proposing these limits, CMS noted that, consistent
with the statute, their purpose was “to prevent agents from unnecessarily moving beneficiaries
from plan to plan and to ensure that beneficiaries are receiving the information and counseling
necessary to select the best plan based on their health care needs.” CMS, Medicare Program;
Revisions to the Medicare Advantage and Prescription Drug Benefit Programs, 73 Fed. Reg.
28556, 28583 (May 16, 2008).

55. Under the finalized version of the regulations, “[flor each enrollment in an initial’
enrollment year, MA organizations may pay compensation at or below FMV [fair market
value],” 42 C.F.R. § 422.2274(d)(2), and “[flor each enrollment in a renewal year, MA plans
may pay compensation at an amount up to 50 percent of FMV.” 42 C.F.R. § 422.2274(d)(3).

56. | The current regulations further prescribe that, for 2021, “the national FMV is
$539, the FMV for Connecticut, Pennsylvania, and the District of Columbia is $607, the FMV
for California and New Jersey is $672, and the FMV for Puerto Rico and the U.S. Virgin Islands
is $370.” 42 C.F.R. § 422.2274 (a) (2021).

57. Ifabeneficiary disenrolls from an MA plan less than three months after enrolling,
the plan generally must recover any commission paid. See 42 C.F.R. § 422.2274(d)(5)(ii)(A)
(2021); MCMG § 110.7.

58. The CMS regulations also permit an MA plan to pay an agent or broker

“administrative payments” (which are commonly called “overrides”). See 42 C.F.R.

§ 422.2274(e) (2021). Specifically, the regulations provide that:

14
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 15 of 66

(1) Payments made for services other than enrollment of beneficiaries (for
example, training, customer service, agent recruitment, operational overhead,
or assistance with completion of health risk assessments) must not exceed the
value of those services in the marketplace.

(2) Administrative payments can be based on enrollment provided payments ai are
at or below the value of those services in the marketplace.

Id.

59. The version of this regulation in effect prior to January 19, 2021, also stated
clearly that the administrative payments could only be for “services other than selling insurance
products.” 42 C.F.R. § 422.2274(b)(1)(iv)(B) (2020) (“The amount paid to the third party for
services other than selling insurance products, if any, must be fair-market value and must not
exceed an amount that is commensurate with the amounts paid by the MA organization to a third
party for similar services during each of the previous 2 years.”).

60. | CMS has cautioned that MA plans should “not use these administrative payments
as a means to circumvent the limits on compensation to agents and brokers.” CMS, Medicare
and Medicaid Programs, Contract Year 2022 Policy and Technical Changes to the Medicare
Advantage Program, Medicare Prescription Drug Benefit Program, Medicaid Program,
Medicare Cost Plan Program, and Programs of All- Inclusive Care for the Elderly, 86 Fed. Reg.
5864, 5994 (Jan. 19, 2021).

61. In 2008, when CMS first published its regulations on agent and broker
compensation, the agency warned that excessive payments from MA plans to agents and brokers
could violate the anti-kickback statute:

_ The compensation structure is designed to help prevent inappropriate moves of
beneficiaries from plan-to-plan. Parties remain responsible, however, for

compliance with fraud and abuse laws, including the anti-kickback statute.

Depending on the circumstances, agent and broker relationships can be —

problematic under the anti-kickback statute if they involve, by way of example
only, compensation in excess of fair market value, compensation structures tied to

15
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 16 of 66

the health status of the beneficiary (for example, cherry-picking), or compensation
that varies based on the attainment of certain enrollment targets.

CMS, Medicare Program; Revisions to the Medicare Advantage and Prescription Drug Benefit
Programs, 73 Fed. Reg. 54226, 54239 (Sept. 18, 2008).

62. The current regulations separately permit MA plan agents and brokers, such as
eHealth, to pay referral fees to third parties, but the regulations specify that “[t]he payment may
not exceed $100 for a referral into an MA or MA-PD plan.” 42 C.F.R. § 422.2274(f) (2021).
(The prior version of this provision referenced the CMS-determined referral fee rate, which was
also $100. See 42 C.F.R. § 422.2274(h)(1) (2020)).

63. Thus, the regulations effectively allow MA agents and brokers to pay up to $100
for a successful lead. :

64. CMS has cautioned, however, that “referral fees that exceed a nominal amount
(e.g., $25-$100) may result in inappropriate steerage of beneficiaries to particular plans or
sponsors without regard to beneficiaries’ health care needs.” CMS Medicare Drug & Health Plan .
Contract Administration Group, Memorandum re Excessive Referral Fees for Enrollments (Oct.
19, 2011).

65. ‘Consistent with the Medicare statute, the regulations also prohibit MA plans from
engaging in discrimination, including discrimination based on disability. Thus, the regulations
provide that:

an MA organization may not deny, limit, or condition the coverage or furnishing

of benefits to individuals eligible to enroll in an MA plan offered by the

organization on the basis of any factor that is related to health status, including,

but not limited to the following:
(1) Medical condition, including mental as well as physical illness.
(2) Claims experience.

(3) Receipt of health care.
(4) Medical history.

16
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 17 of 66

(5) Genetic information.
(6) Evidence of insurability, including conditions arising out of acts of domestic |
violence.
(7) Disability.
42 C.F.R. § 422.110.

66. The regulations also provide that, “[i]n marketing, MA organizations may not...
[e]ngage in any discriminatory activity.” 42 C.F.R, § 422.2268(b)(12); see also MCMG § 30.1.
VI. FACTUAL ALLEGATIONS

A. Carrier Kickbacks to eHealth

1. General Allegations

67. Each of the insurance carrier defendants paid eHealth commissions and
administrative fees. As described further below, each of the insurance carrier defendants also
made substantial payments to eHealth in exchange for eHealth’s commitment to refer specific
numbers of MA applications to those carriers. In some instances, the carrier defendants also
made clear that their payments, or future payments, were contingent on eHealth minimizing the
proportion of MA applications from disabled, or “U65,” Medicare beneficiaries that eHealth
referred to the carriers, because disabled Medicare beneficiaries often suffered from mental
illness, physical disability, or chronic pain, and tended to have health care needs that were more
costly and more difficult to manage than the health care needs of people who were Medicare-
eligible solely because of age.

68. Until recently, the carrier defendants generally “pre-funded” eHealth with
sponsorship money in exchange for commitments by eHealth to refer them specific numbers of
MA applications. eHealth kept close track of these commitments. In a June 2019 internal

presentation, for example, the company noted that its commitments for the fourth quarter of 2018

(which included the AEP) included the following:

17
Case 1:21-cv-11777-DJC Documenti1 Filed 11/02/21 Page 18 of 66

Humana 25,000

Aetna 9,900
Anthem 9,100
WellCare 6,900
69. Further, eHealth (and the carriers) internally calculated the amount of sponsorship

money on a per application basis. Thus, in an e-mail on July 24, 2018, Chris Hakim, the former
General Manager of eHealth’s Medicare business, provided his team with per-application data on
the value of sponsorship money eHealth then was receiving:

[H]ere are the incremental $$’s per MA enrollment for the carriers we are
receiving sponsorship for .. .

Carrier Incremental $$ per MA enrollment

Humana $200

Wellcare $138

Anthem $219"

Aetna $161 (No dedicated Agents but we are receiving $1.244M of

funding to drive 7,700 MA’s)

70. Notably, however, the written contracts between the carrier defendants and
eHealth did not mention eHealth’s application submission commitments or cost per enrollment
(beyond commissions and administrative expenses). As William Kinkead, an eHealth Director of
Carrier Development, noted in an instant message chat with Relator on August 25, 2021, “[t]he
commitments on production are verbal over the phone and on spreadsheets - but nowhere on the
contracts.” In an instant message chat with Relator on September 20, 2021, Mr. Kinkead further
explained that the carriers did this intentionally because, “as long as they [the sponsorship

contracts] don[’]t explicitly call out app count or funding against production....they should be

able to skirt around the regs.”

18
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 19 of 66

71. So, the parties generally attempted to disguise the true purpose of the payments by
writing in their contracts that the’ carrier defendants were paying eHealth to cover various
marketing expenses, such as the costs of maintaining carrier-specific “mini-sites” on eHealth’s
websites.

72. eHealth understood that, for any given carrier, future sponsorship money was at
risk if eHealth did not meet the commitments the parties had discussed. For example, in a
September 2018 slide presentation to eHealth’s board of directors, company management wrote
that “[a]chieving carrier specific enrollment targets [is] critical for 2019 sponsorship revenue.”

73. Several months later, in a January 2019 invitation to a conference call with senior
company leaders, Gregg Ratkovic, who was then eHealth’s Senior Vice President of Carrier and
Business Development, wrote: “We’re looking to leverage carrier dollars in excess of 2018
pressing towards a significant stretch goal. It’s critical that we’re aligned and planned in order to
meet the enrollment targets we’ve committed to.”

74, Similarly, in an e-mail on July 28, 2021, Jake Roberts, an eHealth Director of
Strategic Carrier Programs, explained that, “if we ask carriers for additional investment dollars[,]
we have to be able to tie that back to apps and deliver those apps. Generally carriers are willing
to pay about $200/app.”

75. Likewise, in the instant message chat with Relator on August 25, 2021,

Mr. Kinkead observed that, “in the old days - the straight marketing pre-fund days you're
right.... Carriers would hold us accountable on our sent app commitments.”

76. Ina March 2017 e-mail, Mr. Hakim elaborated on eHealth’s concerns about the _
effect of not meeting the commitments it made to carriers in exchange for sponsorship money:

[This year since we are not growing for MA we are missing the numbers from
the carriers we have received money from. Humana has given us $250K for Q1

19
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 20 of 66

and we are more than 50% off of what they want us to do so the $250K for Q2 is
in jeopardy. Wellcare called me today and said we are off in the markets that their
GM’s gave us incremental $$’s. We also have a national deal for Wellcare which
they have commitment [of] $700K through AEP broken out by quarter and they
can cancel the spend with 30 days notice if we are not delivering. Aetna is giving
us $500K for Q2 and Q3, (Andy you have the numbers we need to hit for them). .

Bottom line is we need to spend incrementally this year in their markets or the $$
will be taken back or not continue giving to us.

77. In 2020, when eHealth did not meet its commitments to certain carriers, those
carriers reacted by reducing their sponsorship spending on eHealth during the first half of 2021.
As aresult, during the course of an August 12, 2021, off-site management meeting in Texas,
Mr. Roberts warned that “[w]e don’t want to be in a spot like we were last year with Anthem and
Humana and others where we underperformed and the carrier was unhappy and then we didn’t
get money for the first half of the year.”

78. Earlier, during an off-site meeting in Texas on May 12, 2021, Brian Shasha,
eHealth’s Vice President of Carrier Business Development, remarked that: “We want longevity
in the sponsorship model, right. And so, if we accept the money from the carrier and we don’t
perform, then we become that agency that takes money and doesn’t do what they say they’re
going to do. And that gets around, and then no one invests with us. . . . Those are the :
conversations. That’s the fear. We don’t want that to happen.”

79. More recently, on October 28, 2021, during an internal eHealth meeting that
addressed carrier sponsorship money, Mr. Shasha explained that “we need to hit our
commitments, right, from a sponsorship perspective. . . .[T]here’s still a sales goal and one that
they’ve paid for.” Mr. Shasha subsequently elaborated:

I’m worried about Anthem. We monetized to the max to forecast with them on a

pre-fund. It was split this year. Half goes into the override, half goes into pre-fund

but they’re still funding that pre-fund at a max so there’s an expectation that we
get to that max production level. I think it’s 24,000 apps.

20
Case 1:21-cv-11777-DJC Documenti1 Filed 11/02/21 Page 21 of 66

80. The carriers also made it clear to eHealth that, notwithstanding the language of

the contracts, they generally cared little about how eHealth actually spent their sponsorship
‘money, and cared much more about whether eHealth sent them the MA applications eHealth had

committed to sending in exchange for the sponsorship money. Thus, for example, in an e-mail

exchange on June 4, 2018, Sukie Dean, who was then an eHealth Senior Director for Medicare

Carrier Relations, commented that “[t]he carriers are looking at the total sent application number
- and not the sent apps by mini-site or one marketing effort.”

81. For its part, eHealth generally regarded sponsorship money as unencumbered
cash, and not as reimbursement for administrative expenses. When, in a May 2017 e-mail
exchange, Relator asked if eHealth “contemplate[d] actually spending that [sponsorship] money
[it budgeted for receipt in the fourth quarter of 2017] or did we assume all of it would fall to the
bottom line,” an eHealth financial analyst responded that “in the Plan we assumed that
sponsorship revenue would be 100% profit.” Similarly, in a text exchange on September 29,
2021 , Robert Follansbee, a former eHealth Director of Marketing, confirmed to Relator that,
“Ty]Jes, we would book that [sponsorship money] as revenue not money for expense offset.”

82. To ensure that the flow of sponsorship money continued, eHealth took specific
steps, when necessary, to direct business to particular carriers. For example, eHealth prevented
some of its agents from selling for particular carriers, such as United Healthcare, that did not pay
substantial sponsorship money to eHealth. Then, eHealth used an algorithm to identify callers
most likely to purchase a plan that those carrier-limited agents could sell and, unbeknownst to

the callers, eHealth routed the callers to those agents.

21
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 22 of 66

83. In a September 2018, e-mail, Tim Hannan, who was then eHealth’s Chief
Marketing Officer, explained this methodology for shifting applications to specific carriers in
order to meet the commitments eHealth had made in exchange for sponsorship money:

[First], we can use the propensity models from the data science team to more

aggressively answer/route the calls that are likely to yield those carriers. The

models will need to train for the first few days of the AEP, but thereafter we can

make sure we’re answering these calls at a higher rate and routing them to the

most appropriate skill set.

[Second], we can use the output of the propensity model to source users who are
more likely to convert with those carriers.

84. - Similarly, in an e-mail exchange on July 18, 2018, David Nicklaus, eHealth’s
Senior Vice President of Sales and Operations, explained a plan to limit certain eHealth agents to
selling the plans of three carriers — Humana, Anthem, and WellCare — that were paying eHealth
large amounts of sponsorship money. :

85. As Nate Purpura, a former eHealth Vice President of Marketing, commented in an
August 2021 text exchange with Relator, Mr. Hakim “used to [engage in such steering tactics]
ALL the time to make sure you hit the sponsorship numbers.”

86. Inan August 2021 instant message chat between Relator and Alan Jones,
eHealth’s Vice President of Innovation and Market Insights, Mr. Jones observed that “the
problem is we’re hooked on ‘sponsorship’ from the big guys. Which . . . distorts our business
decisions. [B]ut 68M out of a total revenue target of 750M is too big to ignore.”

87. Asaresult of eHealth’s favoritism toward the plans of carriers that paid it more in
sponsorship, eHealth sometimes actively resisted marketing the plans of carriers that did not pay
it sponsorship money. On May 30, 2018, for example, Mr. Hakim sent several of his eHealth
colleagues a spreadsheet showing the amounts of money certain carriers had committed to pay

eHealth in sponsorship and the “[e]nrollment [c]Jommitments” eHealth had made to those carriers

22
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 23 of 66

in exchange, and then he noted on the spreadsheet that “[w]e will be shifting Market Share from
other carriers to hit these numbers.”

88. Over three years later, in August 2021, Derek Streich, an eHealth Director of
Business Development, announced in an e-mail to several of his colleagues that his team would
add ConnectiCare, a relatively small, Connecticut-based MA carrier, to eHealth’s marketing
platform. Shortly thereafter, however, Mr. Shasha expressed concern that adding ConnectiCare
would “have a sponsorship impact on Anthem, WellCare, and Aetna,” which each paid eHealth
millions of dollars per year in sponsorship money. Mr. Shasha then directed that ConnectiCare
be added only to eHealth’s online sales platform, and not to its much larger tele-sales platform.
When Mr. Streich subsequently asked Mr. Roberts if “the only rationale” for limiting
ConnectiCare to online sales was “that we don’t want them to interfere with other (higher
sponsoring) carriers,” Mr. Roberts confirmed that, “Yes, that was Brian [Shasha’s]
view/rationale.”

89. After this decision, Mr. Streich expressed to Relator his frustration with having to
tell ConnectiCare that eHealth would not market its plans via tele-sales: “I HATE this part of the
job... . ‘[W]e’ decide to use them for online only . . . solely because we don’t want to disrupt
more lucrative carrier partnerships in CT. I obviously can’t tell them this. . . .” !

90. Similarly, during the summer of 2021, when a relatively small carrier, SCAN
Health Plan (“SCAN”), expanded its service area to Arizona and Nevada and asked eHealth to
add those states to the territory where eHealth would sell SCAN plans during the 2021 AEP,

Mr. Shasha demurred. Ultimately, Mr. Shasha said that eHealth would consider selling for

SCAN in Arizona and Nevada only in 2022 “depending on the support of expansion.” As

23
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 24 of 66

Mr. Streich noted in a subsequent chat with Relator, “‘support of expansions’ means they give us
more money.”

91. In 2020, some carriers began to condition their payments to eHealth explicitly on
eHealth’s success in sending them MA applications. As Mr. Streich observed in a chat with
Relator on August 25, 2021, “[w]e did that last year (over promised and under delivered), so

none of the carriers really fund us in advance based on our promise, it’s almost all incremental

‘sponsorship’ based on volumes.”

92. Mr. Kinkead made a similar observation in his instant message chat with Relator
on August 25, 2021: “Many of the big carriers though have moved away from straight prefund
and tied marketing dollars more to performance, paying retroactively on accreted policies.”

93. Thus, several carriers (including defendants Humana and WellCare) began
explicitly paying eHealth a specific amount of money — in addition to commissions and
administrative payments — for each MA application that eHealth submitted to them. In remarking
on this transition to retroactive, performance-based payments, Mr. Shasha commented in a
November 2020 e-mail exchange that “[tJhe carrier’s [sic] don’t see a ton of value of that [pre- _
fund sponsorship] model and we are in the middle of changing it up, partly because [the carriers]
just want the production, [and] creating an exchange of services the carrier can pay for makes it
less appealing for them.” Mr. Roberts explained this transition further in an internal eHealth
conference cal] on September 16, 2021:

From the funding standpoint, last year, 2020 and previous, almost all of the

money was pre-funded. So we would tell carriers, “we’re going to sell x number

of apps,” and they would give us x number of dollars. And whether we sold half

of that, or twice as many of that, we got the same amount of money. That wasn’t,

isn’t, the best scenario for us, or for the carriers, and this year we’re moving a lot

more into performance-based. So, we’re getting paid almost a per-app rate
regardless of how many we write.

24
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 25 of 66

94, The characterization of the carriers’ sponsorship payments to eHealth evolved
further in 2021, as some carriers shifted the money from separate sponsorship payments into
larger “administrative payments” that were conditioned on sales. As Mr. Roberts explained in the
conference call on September 16, 2021, “some carriers are now putting these marketing fees into
our administrative fees, our overrides. That drives up the amount of money we get per app. You
don’t have to re-negotiate these every [year], at all. They’re evergreen deals, right.” i

95. Mr. Roberts did not explain how eHealth and the carriers could justify the fair
market value of these increased administrative payments when (1) eHealth previously had
accepted much smaller administrative payments from those carriers for the same purported
administrative expenses, and (2) eHealth still accepted much smaller administrative payments
from other carriers for the same purported administrative expenses.

96. On September 23, 2021, Mr. Shasha presented a slide showing, by carrier, the
sponsorship amounts that eHealth had received so far in 2021 and expected during the remainder
of the year. The “Grand Total” was $68,649,433.

97. | Meanwhile, multiple eHealth employees have acknowledged that the legality of

the company’s receipt of carrier sponsorship money was, at best, a “gray area.” For example, on
August 25, 2021, Mr. Streich and Mr. Roberts of eHealth had the following instant message
exchange: .
Mr. Streich: For some reason I had it my brain that “per app” sponsorship was
illegal. I think that was the stance at HealthMarkets [another

insurance broker].

Mr. Roberts: Your brain is right
Lots of gray area

Mr. Streich: Some day when things calm down I’d love to understand how [to]
do this to make sure we[’ re safely in the gray area.

25
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 26 of 66

Mr. Roberts: It isn’t our risk, it’s the carriers

98. Similarly, when, that same day, Relator asked Mr. Kinkead whether carriers could
pay eHealth extra money “based on per policy production,” Mr. Kinkead responded that “It’s a
gray area[.] Always has been. Carriers are assuming that risk.”

99. In a subsequent instant message exchange, on October 21, 2021, Relator
expressed to Mr. Shasha his concerns about eHealth’s volume commitments in exchange for
carrier sponsorship money:

Relator: We need to be careful not to give the impression [to eHealth

employees] that we have made any volume promises to carriers or,
if that has happened, that we not use the language that suggests
there is a volume expectation.

Mr. Shasha: They have to know that, Andy. It comes up in most of the calls
they are in during AEP and [it’s] important as part of the team that
they understand how we work.

Relator: I do not think we want to give the impression that marketing
money is conditioned on the delivery of any specific number of
applications.

B. Aetna’s Cherry-Picking Directives and Kickbacks to eHealth

1. Aetna’s Cherry-Picking Directives to eHealth in 2017 and 2018

100. Inearly 2017, soon after Relator started working at eHealth, he learned that Aetna

had pledged to pay eHealth $1.4 million in sponsorship money that year in exchange fora

commitment by eHealth to generate 17,164 new MA policies for Aetna, but that Aetna was

concerned about the “U65 mix” (i.e., the proportion of disabled Medicare beneficiaries) in the

MA applications eHealth was submitting to Aetna.
101. Relator also learned that Aetna managers in two large markets, New Jersey and
Texas, were so unhappy about the U65 mix in the business eHealth was generating for Aetna in

their states that they did not want eHealth to market Aetna plans in those states at all. Thus, on

26
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 27 of 66

February 24, 2017, Relator received the following e-mail from Ms. Dean, the e-Health Senior
Director for Medicare Carrier Relations:

I spoke with Amy [Ike, an Aetna National Sales Director] my contact at Aetna
this morning and wanted to get over some agenda items for our March 7th
meeting in Orlando. She stressed that our mix is a daily topic of discussion within
Aetna and anything we. can do to talk through how we are managing/monitoring |
the mix would be helpful. ... The other items they would like to discuss are -

° How can we meet and exceed 2017 goals, is there anything Aetna can do
to help us get beyond our goals

° Mix and how we are addressing the spike in under 65 sales

. Marketing analysis by channel, which channels are driving the most under
65 leads/sales

102. On March 3, 2017, Ms. Ike sent an e-mail to Mr. Hakim, the then-General
Manager of eHealth’s Medicare business, attaching a spreadsheet showing that Aetna’s 2017
“goal” for eHealth was 17,164 issued MA plans, and that, as of the date of the e-mail, eHealth

had generated 6,808 new MA plans for Aetna in 2017.

103. Relator and his colleagues knew that one way to lower the U65 percentage would
be to reduce eHealth’s use of DRTV advertising (which could be seen by anyone and tended to
generate a relatively high percentage of calls from U65 beneficiaries) and to rely more oh direct
mail advertising (which could be targeted to people who were 65 or about to turn 65).

104. As Melissa Wong, an eHealth Senior Carrier Account Manager, observed in an
instant message chat with Relator on September 13, 2021, “[I] think when we were doing that
old DRTV it was capturing the <65 sick people, so costing the carriers more money. When we
pushed more on DM [direct mail], it evened out... .” |

105. On March 7, 2017, Relator and Mr. Hakim met with several Aetna executives,
including Ms. Ike and John Sowell, Aetna’s Head of Individual Medicare Strategic Distribution.

During the meeting, Mr. Sowell reiterated Aetna’s concerns about the U65 mix in the MA

27
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 28 of 66

applications coming from eHealth and said that Aetna’s managers in the Texas and New Jersey
markets were particularly upset about that mix.

106. Relator presented slides during the meeting with Aetna on March 7, 2017. In the
slides, Relator recognized Aetna’s desire to “[a]ddress concerns with U/O 65 mix,” and he .
outlined plans for an eHealth direct mail campaign that would have a “100% focus on age 64+.”
At the conclusion of the meeting, as Relator reported in an e-mail to Robert Hurley, then'the
President of eHealth’s Medicare division, eHealth “secured at least $500,000 in new co-
marketing dollars (to support a few specific direct mail initiatives).”

107. On April 18, 2017, Aetna’s Ms. Ike sent an e-mail to e-Health’s Ms. Dean: “I am
checking in to see if the marketing plan is available for you to share? (For the $500K).” !

Ms. Dean forwarded this e-mail to Relator, who, knowing that Aetna did not want eHealth to
market to disabled Medicare beneficiaries or to anyone in Texas or New Jersey, responded that
“We’re going to drop approximately 425[],000 packages to people age 67+... . We’re also
sending roughly 41,000 packages to people approaching their Medicare [Initial Enrollment
Period]... . We are only mailing in the counties Aetna shared and excluding TX + NJ.”

108. In May 2017, eHealth undertook an effort to market to previously “unconverted”
leads who had consented to a follow-up call, but eHealth tailored the effort in an attempt to
satisfy Aetna’s (and Humana’s) aversion to disabled Medicare beneficiaries. Thus, before
sending the lead list to a telemarketing vendor who would refer interested Medicare beneficiaries
back to eHealth, an eHealth employee removed from the list all Medicare beneficiaries who were
under 64 years old.

109. Notwithstanding eHealth’s incipient efforts to reduce the proportion of disabled

Medicare beneficiaries it was referring to Aetna for MA plans, Aetna continued to express

28
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 29 of 66

concern about the U65 mix and even threatened to stop using eHealth as a broker if the U65 mix
did not go down.

110. On May 3, 2017, Ms. Dean sent an e-mail to Relator reporting that she had just
spoken with Ms. Ike at Aetna and that “there are a few things we need to address,” including
“fojur under 65 mix for 2/1-5/1 is at 46% which is significantly higher than our 1/1 mix which
was 32% for under 65. Can you take a look at what is driving this mix to increase and is there
anything we can do without impacting sales to help improve this before the Direct mail hits?”

111. On May 16, 2017, Ms. Dean sent an e-mail to Relator and Mr. Hakim reporting
that “we are behind 2900 MA’s for Aetna. . . . John [Sowell] is holding the payment for $250K
until we discuss the mix and the mail drop.”

112. On May 17, 2017, Relator and Mr. Hakim had a call with Aetna, and Mr. Hakim
then sent an e-mail to several senior eHealth executives reporting that “we had a call with Aetna
today and they were extremely clear that if we do not start making a significant dent in the mix
of our business with them by June 30th we will most likely not be able to sell their MA products
in most of the country for AEP.” After discussing potential tactics to “drive >65 leads,”

Mr. Hakim concluded his e-mail by stating that eHealth “now need[s] to do something pretty
significant or we will lose one of the top carriers in the MA business. In addition there ig $1M of
sponsorship revenue in our plan for Q4 which is at risk as well.”

113. On May 18, 2017, Relator reported to two of his colleagues that “we’re no longer
allowed to sell Aetna products in TX or NJ.”

114. The same day, eHealth’s Chief Financial Officer and Chief Operating Officer,
Dave Francis, sent an e-mail to Relator and other senior eHealth executives affirming that

eHealth “intended . . . to address the mix issues raised by Aetna” and that “[oJur strategy in

29
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 30 of 66

moving toward more partnership driven business [i.e., getting more sponsorship money from
carriers] has among its goals capturing an improved mix of business.”

115. The next day, May 19, 2017, Relator sent an e-mail to his eHealth marketing
colleagues outlining some of the tactics eHealth was employing to address Aetna’s
“dissatisfaction with our application mix.”

116. . Aetna continued close monitoring the success of eHealth’s efforts to reduce the
proportion of MA applications from U65 beneficiaries that eHealth was sending to Aetna. On
June 12, 2017, Aetna’s Ms. Ike sent eHealth’s Ms. Dean an e-mail showing “your [U65] MA
mix week to week for 2017 submissions.” At that point, the average for the year was 46.04%.

117. On June 16, 2017 , Ms. Dean forwarded Ms. Ike’s e-mail to Relator, and she
added that she had spoken with Ms. Ike, who conveyed that Aetna’s Mr. Sowell “was interested
in touching base and wanted to review where we are with the direct mail and overall mix
strategy.”

118. Ten days later, on June 26, 2017, Ms. Ike reported to Ms. Dean that: “You are
averaging about 45-46% for the year. The last full 4 weeks are averaging at 41%.”

119. Two days later, on June 28, 2017, Ms. Ike sent Ms. Dean an e-mail breaking
down “your 2017 submission” by age group:

I see 124 submissions that are age 64
2283 submissions are ages 22-63
3378 submissions are ages 65-100

There are 206 ‘submission only’ (never made it to an active status) that
did ... not have a DOB.

120. Ms. Dean promptly forwarded Ms. Ike’s e-mail to Relator and Mr. Hakim, and
she commented that “[w]e aren’t seeing movement on the mix and it looks like removing Aetna

from DRTV may be the only way to bring down the percentage.”

30
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 31 of 66

121.

“fRjJemoving Aetna from DRTV” meant that, when an eHealth agent received a

call on a telephone number that eHealth had advertised via DRTV, eHealth ensured that the

agent would not see any Aetna plans available.

122.

Ms. Dean’s suggestion concerned Relator, and he responded to Ms. Dean and

Mr. Hakim as follows:

I have a very specific and passionate point of view. I recognize that there are other
business considerations in place but here’s my POV anyway.

1.

2.

123. -

We should do whatever is reasonable to help with mix.
We should not exclude them from DRTV (it’s not reasonable).

The Medicare guidelines state very clearly that a carrier cannot force a
broker to cherry pick beneficiaries. They can ask us to get better at serving
the 65+ crowd and we should work on that but my understanding is that —
they may not shut us off in any region due to undesirable mix. In my
experience, CMS would take this seriously.

I believe it would be improper for us to make major changes to our
marketing efforts (for Aetna) because of the compliance risks to our
company. Plus, limiting these people to other carriers just sends more
difficult members their way, which seems unfair to me.

On July 14, 2017, notwithstanding Relator’s previously-expressed compliance

and policy concerns about Aetna’s demands on eHealth, Mr. Hakim sent Relator an e-mail

discussing the possibility of “turning some things [i.e., DRTV] off” to satisfy Aetna because

“[w]e really need their $750K.”

124.

Relator responded to Mr. Hakim as follows:

You may consider the following:

2.

We’ve found two solid direct mail pieces and will introduce a new series

of packages ahead of the next AEP. The mix is exactly as we anticipated ...
virtually 100% age 64+. We will invest more than $2 million in direct mail.

3.

Threatening to shut us off isn’t just bad business for Aetna. It’s also

improper and very likely illegal. 1 would be surprised if a more widespread shut

31
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 32 of 66

down didn’t force our compliance folks to self-report the matter to CMS, which

wouldn’t be good for anyone and certainly not for Aetna. So it’s in our mutual

best interest to figure out a proper compromise that doesn’t run afoul of the law.

a. A reasonable compromise cannot be to shut offa bunch of markets orto
abstain from major marketing campaigns. The last thing we want is to be dragged

into a bunch of compliance drama thanks to Aetna making us do questionable

things.

125. Mr. Hakim ignored Relator’s cautionary statements and responded by instead
suggesting that eHealth also would have to reduce the U65 percentage for Humana: “Thanks for
sending. Humana just called me about this same topic and we need to assure them we will be in
the mid 30% range to get marketing $$’s so these items will be good for them as well.”

126. For much of the rest of 2017, Aetna continued to condition its payment of
sponsorship money to eHealth on eHealth not marketing for Aetna in New Jersey or Texas, as
well as on eHealth reducing the U65 mix in all markets. Thus, in an e-mail about Aetna to
Relator and Ms. Dean on November 6, 2017, Mr. Hakim reiterated that “we do not sell them in
NJ and TX.”

127. In late February 2018, Aetna temporarily allowed eHealth to market Aetna plans
in Texas, but not through DRTV.

128. As of June 21, 2018, however, eHealth understood that it could not market Aetna
plans in either Texas or New Jersey.

129. Inan e-mail to Relator on August 12, 2018, Paul Rooney, eHealth’s Vice
President of Medicare, Individual and Small Group Carrier Relations, noted that “we have $1.2m
from Aetna for AEP marketing and need to deliver 7,600+ apps.”

130. Late in 2018, Aetna permitted eHealth to engage in limited marketing on behalf of

Aetna in New Jersey, but only so long as eHealth targeted the marketing to Medicare

32
Case 1:21-cv-11777-DJC Documenti1 Filed 11/02/21 Page 33 of 66

beneficiaries who were 65 or over. Thus, on November 1, 2018, Mr. Rooney reported that,
“[dJespite my best efforts, Aetna wants us to turn off TV in NJ.”

131. In an instant message chat that same day, Mr. Rooney and Relator further
discussed Aetna’s directive, and eHealth’s understanding that it needed to comply with the
directive in order to continue receiving sponsorship money from Aetna:

Rooney: hey. if needed, can we remove Aetna from TV channel in NJ? is
that easily done at the alliance id level?

Relator: It can be done but not great for our business. . . .
Rooney: I hear you. they are freakout about <65 business. we were actually

not supposed to turn tv on for them to begin with. ok. I am pushing
back but may have to do it.

Relator: isn’t direct mail helping?

Rooney: absolutely

Relator: The DRTV enrollments should pale in comparison
Rooney: only 2 of the apps from tv are <65.

They are being unreasonable.
but they are giving us lots of $!

Relator: That region is nuts in my opinion and they should be reminded that
asking us to do these things is not legal[.] The money is great but
they can’t cherry pick their members and it’s not even a gray area.
They know this.
Rooney: got it
132. The next day, Ms. Wong, the eHealth Senior Carrier Account Manager, sent an e-
mail to a group of eHealth employees stating: “We need to turn off all TV marketing for ONLY

Aetna New Jersey. This is due to the mix of business we send to that state, so they want to turn

off the TV marketing. We need to do this ASAP. . . .” (Emphasis and coloration in original.)

33
Case 1:21-cv-11777-DJC Document 1 Filed 11/02/21 Page 34 of 66

133. Aetna’s cherry-picking activities not only violated federal law and CMS
regulations, they also violated Aetna’s own Medicare Marketing Code of Conduct, which
directed Aetna employees not to “engage in discriminatory marketing practices” such as
“focusing only on aged Medicare-eligible population and not disabled beneficiaries.”

2. Aetna’s Kickbacks to eHealth

134. As noted above, Aetna agreed to pay eHealth $1.4 million in sponsorship money
in 2017, but paid that sum out in increments and conditioned the payments on eHealth hitting
certain enrollment goals and reducing the U65 mix.

135. While the U65 mix eventually went down and Aetna relented on its cherry-
picking directives, Aetna continued to pay eHealth sponsorship money that was conditioned on
eHealth referring MA business to Aetna.

136. Going back to at least 2014, Aetna and eHealth were parties to an “Aetna
Marketing Agreement for Upline Agents and Agencies.” Under this agreement, Aetna agreed to

pay eHealth commissions (at the maximum allowable amount) and administrative payments.

137. Separately, the parties agreed on amounts of sponsorship money Aetna would pay
to eHealth each year in exchange for each MA policy eHealth generated for Aetna. Thus, for
example, in 2017, Aetna agreed to pay eHealth $1.4 million in exchange for 17,164 new MA
policies.

138. Aetna and eHealth papered the sponsorship payment agreements in a series of
amendments to a master agreement called the “July 1, 2014 eHealth-Aetna Advertising
Agreement” (“Advertising Agreement”). Each amendment covered only a part of a year (in some

cases, the periods overlapped), and each amendment ostensibly called for Aetna to pay eHealth

34
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 35 of 66

in exchange for eHealth agreeing “to conduct a website marketing program related to [Aetna’s]

Medicare Products (the ‘Custom Site’),” or words to that effect.

139.

following:

140.

Examples of such amendments to the Advertising Agreement include the !

Amendment Eleven, for $250,000, “[iJn consideration for extending the period for
the operation and maintenance of the Custom Site from April 1, 2017 through
April 30, 2017, and for other marketing services as described in the [Advertising
Agreement].”

Amendment Twelve, for $250,000, “[iJn consideration for extending the period
for the operation and maintenance of the Custom Site from May 1, 2017 through
May 31, 2017, and for other marketing services as described in the [Advertising
Agreement].”

Amendment Thirteen, for $500,000, “[iJn consideration for extending the period
for the operation and maintenance of the Custom Site from [August 28, 2017]
through December 31, 2017, and for other marketing services as described in the
[Advertising Agreement].”

Amendment Fifteen, for $153,700, “[i]n consideration for additional marketing
services during the period and for the operation and maintenance of the Custom
Site from November 1, 2017 through December 31, 2017, and for other marketing
services as described in the [Advertising Agreement].”

Amendment Seventeen, for $65,250, “[i]n consideration for additional marketing
services during the period and for the operation and maintenance of the Custom
Site from December 8, 2017 through December 31, 2017, and for other marketing
services as described in the [Advertising Agreement].”

Amendment Twenty-One, for $255,000, “[i]n consideration for extending the
period for the operation and maintenance of the Custom Site from [November 1,
2018] through December 31, 2018, and for other marketing services as described
in the [Advertising Agreement.”

Amendment Twenty-Two, for $250,000, “[i]n consideration for extending the
period for the operation and maintenance of the Custom Site from [November 8,
2018] through December 31, 2018, and for other marketing services as described
in the [Advertising Agreement].” .

As the foregoing list shows, the amounts of sponsorship money Aetna agreed to

pay eHealth varied considerably, especially when viewed on a per-month basis. In fact, the

35
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 36 of 66

amounts bore no relation to costs eHealth actually incurred “to conduct a website marketing
program” or other marketing for Aetna. Nor did the amounts bear any relation to costs eHealth
incurred for administrative expenses such as “training, customer service, agent recruitment,
operational overhead, or assistance with completion of health risk assessments.” Cf 42 C.F.R.
§ 422.2274(e) (2021).

141. In aconversation with Relator on September 14, 2021, Mr. Kinkead, the eHealth
Director of Carrier Development, explained the true rationale behind Aetna’s payments:

So, it’s a combination of a couple of things. One, there is a pre-fund component to

it. And the pre-fund component is driven off of a new-issued apps expectation,

right. So, unlike Humana that pays us our pre-fund based on sent apps, Humana

[sic Aetna] always pays, typically always pays based on new-issued apps, and

historically has always set sort of a base, a benchmark CPS [cost per sale], and

then they’Il pay us sort of retrospectively, or retroactively, based on the total

_ number of issued apps that we sell within a given qualifying period.

142. Mr. Kinkead further explained that, for 2021, Aetna agreed to pay eHealth “a
$300 CPS, and then at the quarter’s end, we will look at how many of the apps that we sent
actually were new-issued apps, and then we’ll reconcile with Aetna, and then we’ll send an
invoice to them based on the total number of new-issued apps against that $300 CPS.”

143. In or about December 2020, eHealth agreed to participate in a separate
arrangement with Aetna’s “Heartland/Midlands” territory. Under this arrangement, called the

|
“Heartland/Midlands Close-the-Gap Incentive Program,” Aetna agreed to pay eHealth “increased
marketing fees amounting to $150 for additional services provided with respect to each new
issued sale.”

144. In an instant message chat with Relator on September 20, 2021, Mr. Kinkead

described the “Heartland/Midlands Close-the-Gap Incentive Program” as “a kicker campaign”:

36
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 37 of 66

Mr. Kinkead further explained that, “between you and I — [the kicker money from Aetna is] just
more money in the general pot” for eHeath.

145. eHealth did not incur any additional administrative expenses to justify the extra |
$150 per policy. That amount was just an additional kickback for each MA policy eHealth
generated for Aetna’s “Heartland/Midlands” territory. Indeed, in the instant message chat with
Relator on September 20, 2021, Mr. Kinkead commented that, “between you and I - its just more
money in the general pot.”

146. Similarly, in an instant message chat with Relator about the Aetna Heartlands
program on September 16, 2021, Mr. Shasha acknowledged that it would cause “no immediate
rise in admin costs [for eHealth], it’s just an additional incentive to ‘drive more sales.’”

Mr. Shasha elaborated: “That is the Heartlands and Midlands kicker you are referencing. We are

37
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 38 of 66

actually locking that in again this afternoon for 2022, meeting with the region. We are going to
go after the other regions as well, doing this for Humana, Aetna and CIGNA.”

147. Separately, Aetna offered to pay eHealth and other brokers a “Retention
Incentive” of $100 per policy for brokers “that retain at least 90 percent of [their] total book of
business throughout 2021.” Aetna described the $100 payments as “administrative fees,” but did
not list any administrative expenses brokers would have to incur to qualify for the per-policy
payments.

148. Inthe period from January 1, 2018, through December 31. 2020, Aetna paid
eHealth a total of at least $18,993,265 in sponsorship money, and eHealth referred to Aetna
approximately 188,487 MA applications that Aetna approved. eHealth forecasts receiving an
additional $19,928,930 from Aetna in calendar year 2021, in exchange for delivering 52,500
additional MA enrollments to Aetna.

C. Humana’s Kickbacks to eHealth

149. Like other carriers, Humana paid eHealth per-policy commissions and
administrative payments. In addition, Humana paid eHealth millions of dollars each year'in
sponsorship money, although the contracts between eHealth and Humana obscured the true
purpose of this remuneration by describing it as payment for development and implementation of
a Humana “Minisite” on the eHealth websites.

150. Effective March 15, 2010, Humana and eHealth entered into a “Marketing &
Distribution Agreement” pursuant to which Humana paid eHealth commissions at the maximum
allowable amount plus administrative fees of $200 per MA enrollment and $9 per member per

month after the first year.

38
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 39 of 66

151.

Separately, like Aetna, Humana agreed to pay eHealth additional amounts of

sponsorship money in exchange for each MA policy eHealth generated for Humana. Humana

and eHealth initially papered the sponsorship payment agreements in a series of amendments to

their 2010 Marketing & Distribution Agreement. These amendments included the following:

Seventh Amendment, “In consideration for the development, maintenance and
implementation of the Mini-Site for the period running from July 1, 2012 through
September 30, 2012, Humana shall pay to [eHealth] . . . Three Million Dollars
($3,000,000).”

Twenty-Sixth Amendment, “In consideration for the development, maintenance
and implementation of the Mini-Site for the period running from August 15, 2015
through December 31, 2015, Humana shall pay to [eHealth] . . . Three Million
Dollars ($3,000,000).”

Twenty-Ninth Amendment, “In consideration for the development, maintenance
and implementation of the Mini-Site for the period running from February 15,
2016 through March 31, 2016, Humana shall pay to [eHealth] . .. Two Hundred
Fifty Thousand Dollars ($250,000).”

Thirty-Ninth Amendment, “In consideration for the development, maintenance
and implementation of the Mini-Site for the period running from September 1,
2017 through September 30, 2017, Humana shall pay to [eHealth] . . . a fee of
$1,000,000 (the ‘September 2017 fee’). In consideration for the development,
maintenance and implementation of the Mini-Site for the period running from
October 1, 2017, through December 31, 2017, Humana shall pay to [eHealth]. .

a fee of $1, 500, 000 (the ‘Q4 2017 fee’ ). »

Forty-Third Amendment, “In consideration for the development, maintenance and
implementation of the Mini-Site for the period running from August 1, 2018
through December 31, 2018, Humana shall pay to [eHealth] . . . a fee of
$5,000,000 (the ‘Q3 2018 Fee’).”

Forty-Sixth Amendment, “In consideration for the development, maintenance and
implementation of the Mini-Site for the period running from January 1, 2019
through March 31, 2019, Humana shall pay to [eHealth] . . . a fee of $1,000,000
(the ‘Q1 2019 Fee’). In consideration for the development, maintenance and
implementation of the Mini-Site for the period running from April 1, 2019
through June 30, 2019, Humana shall pay to [eHealth] . . . a fee of $2,000,000
(the ‘Q2 2019 Fee’).”

39
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 40 of 66

152. In July 2019, Humana and eHealth entered into a new Marketing & Distribution
Agreement. The updated agreement called for Humana to pay eHealth commissions at the
maximum allowable amount and an administrative fee of $175 per MA policy in the first year
and $10 per member per month thereafter.

153. The new agreement also contained an addendum with a “Schedule Number 001”
providing that, during the third quarter of 2019, eHealth would continue “hosting a Minisite
[and] .. . undertaking efforts to drive customer traffic to that Minisite,” and that, in exchange,
Humana would pay eHealth $2.5 million.

154. The parties subsequently entered into a series of updated schedules and
amendments to those schedules, including the following:

e Amendment 01 to Schedule Number 001, changing the fee for the third quarter of
2019 to $3,000,000. .

e Schedule Number 002, in consideration for “(a) eHealth hosting a Minisite; and
- (b) eHealth undertaking marketing efforts to drive customer traffic to that
Minisite . . . from October 1, 2019 through and including December 31, 2019...
Humana shall pay to eHealth . . . four million dollars ($4,000,000) (the ‘2020
AEP Fee’).”

e Amendment 01 to Schedule Number 002, changing the “2020 AEP Fee” to
$8,500,000.

e Schedule Number 003, in consideration for “(a) eHealth hosting a Minisite; and
(b) eHealth undertaking marketing efforts to drive customer traffic to that
Minisite . . . from June 1, 2020 through and including December 31, 2020...
Humana shall pay to eHealth . . . eighteen million dollars ($18,000,000) (the
*2020 Additional Marketing Fee’).”

e Amendment 01 to Schedule Number 003, providing for an “Amended 2020
Additional Marketing Fee” of $18,500,000.

e Schedule Number 004, in consideration for “(a) eHealth hosting a Minisite; and
(b) eHealth undertaking marketing efforts to drive customer traffic to that
Minisite .. . from January 1, 2021 through June 30, 2021 . .. Humana shall pay
to eHealth . . . one hundred twenty five thousand dollars ($125,000) (the “TN
Digital Marketing Fee’).”

40
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 41 of 66

e Schedule Number 005, in consideration for “(a) eHealth hosting a Minisite; and
(b) eHealth undertaking marketing efforts to drive customer traffic to that
Minisite . . . from July 1, 2021 through September 30, 2021 . .. Humana shall
pay to eHealth . . . one million one hundred thousand dollars ($1,100,000) (the
‘2021 Q3 Fee’).”

e Schedule Number 006, in consideration for “(a) eHealth hosting a Minisite; and
(b) eHealth undertaking marketing efforts to drive customer traffic to that
Minisite . . . from October 1, 2021 through December 31, 2021 . .. Humana shall
pay to eHealth . . . nine million dollars ($9,000,000) (the ‘2022 AEP Fee’).”

* Schedule Number 007, in consideration for “(a) eHealth hosting a Minisite; and
(b) eHealth undertaking special marketing efforts to drive customer traffic to that
Minisite . . . from October 1, 2021 through December 31, 2021 . .. Humana shall
pay to eHealth . . . one hundred ninety thousand dollars ($190,000) (the ‘2022
North and Central FL AEP Fee’) and one hundred thousand dollars $100, 000)
(the ‘2022 South FL AEP Fee’).”

155. None of these schedules and amendments explained how eHealth’s costs of
hosting a mini-site for Humana could have varied so dramatically from period to period.

156. In reality, the fees in the amendments had little, if anything, to do with eHealth
maintaining a mini-site for Humana or driving traffic to it, and everything to with eHealth
sending MA business to Humana.

157. In an instant message chat on October 26, 2021, Yung Le, an eHealth Vice
President of Digital, confirmed that eHealth was “no longer doing specific advertising for the
carrier-specific sites or sending traffic specifically to them.”

158. Various eHealth executives made clear that the true purpose of Humana’s
sponsorship payments to eHealth was to induce eHealth to send MA business to Humana.

159. For example, on March 20, 2017, as noted above, Relator received an e-mail from

Mr. Hakim reporting that “Humana has given us $250K for Q1 and we are more than 50% off of

what they want us to do so the $250K for Q2 is in jeopardy.”

4]
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 42 of 66

160. Then, on May 15, 2017, Mr. Hakim noted in an e-mail that, for “Humana we are
about 4300 MA’s behind last year and they were wanting us to be at least flat [year over year].”

161. Inasimilar vein, on October 11, 2017, Scott Flanders, eHealth’s then-CEO,
reported to several senior eHealth managers that he and two other eHealth executives “had
dinner last night with the President of Retail at Humana, Alan Wheatley, who leads their |
Medicare business” and that “[Mr. Wheatley] stated further that their evaluation of marketing
and other support for 2018 will be significantly impacted by how we perform during this AEP.”

162. The next summer, as eHealth and Humana were discussing how much
sponsorship money Humana would pay eHealth in the second half of 2018, Mr. Hakim
commented in an e-mail to his colleagues that, with “Humana if we do not hit MA numbers
regardless of how much MS [Medicare Supplement] we do it will be viewed as a miss. ...
Bottom line is that these $$°s are for selling MA plans and if we miss their targets for MA the
$$’s will not flow next year.”

163. On July 20, 2018, Mr. Hurley, the then-President of eHealth’s Medicare division,
sent an e-mail to his colleagues explaining the details of these negotiations:

The negotiations for AEP Humana Marketing money continue. They have

proposed the high end of the range ($5m), however they are pushing for a 20%

increase in our production goal from the original commitment of 25,000

enrollments to 30,000 enrollments during the Q4 period.

I countered them that we'd deliver between 25k and 30k for the $5m, given they

pay most of it in Q3. This morning they responded and are insisting on the $5m_ |

for a commitment of 30,000 enrollments. .

. Dave F[rancis, former CFO and COO], Dave N[icklaus, former SVP of Sales and

Operations, Chris [Hakim, former General Manager of Medicare] and I just

discussed this proposal and are concerned with the uplift in the enrollment

commitment. There will not be any clawback provision in our contract, but we

could potentially jeopardize some portion of our marketing commitment for next

year and may harm some of our business operations trying to get to the
commitment this AEP.

42
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 43 of 66

164. During the eHealth off-site meeting on August 12, 2021, Mr. Roberts, the eHealth
Director of Strategic Carrier Programs, elaborated on the purpose of Humana’s sponsorship
payments to eHealth:

The volume commitments are most important on pre-funded dollars because we

give them a commitment and they give us dollars to meet that commitment. .

So, when we negotiated with Humana previously, they typically paid about $150

an application. This year, we said, alright, we want you to pay $200 an application

and we can drive 80,000 apps for you, or something along those lines. And they

said, OK, well we'll pay you $200 an app, but only for 40,000 applications. So,

that’s the biggest pre-fund portion, and we’re obviously very confident that we

can hit that mark.

165. These “volume commitments” never appeared in the written contracts between
Humana and eHealth. As Mr. Shasha acknowledged in an instant message chat with Relator on
August 23, 2021, “these agreements with Humana are not so specific. They are all verbal’ and the
written is general.”

166. Similarly, in Relator’s instant message chat with Mr. Kinkead on August 25,
2021, Mr. Kinkead said: “Humana for example they are paying for the mini site[.] Nothing more
nothing less[.] The commitments on production are verbal over the phone and on spreadsheets -
but nowhere on the contract.”

167. Humana closely monitored eHealth’s compliance with the volume commitments
it made to Humana in exchange for Humana’s marketing dollars. On October 21, 2021, for
example, Jason Breunig, a Humana National Sales Manager, sent his eHealth counterpart,

Mr. Kinkead, an e-mail with a table showing, for the month of October 2021, eHealth’s daily
application “Target” and the number of applications eHealth actually submitted to Humana each

of those days. Above this table, Mr. Breunig wrote:

Wanted to share where you are vs our daily goal. I’1] share these periodically but
if you ever don’t have one and want to know just send me a quick note as it is a

43
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 44 of 66

quick pull. These are ALL Q4 sales and not just 1/1 which is what the Marketing
$ goal is set for. As a whole our marketing $ partners are at 106% of goal.

168. That same day, October 21, 2021, eHealth’s Mr. Shasha told his colleagues that,
“Tif we want additional marketing dollars [from Humana] during AEP, we’d be challenged to
gather those if we’re telling Humana that they’re not number one in our environment.”

169. Separately, like Aetna, Humana also ostensibly prohibited discrimination based
on health status. Under the 2010 Marketing & Distribution Agreement, for example, eHealth was
required to “make all reasonable efforts to ensure that [eHealth] agents . . . [uJunderstand that it
is a violation of CMS regulations and they are strictly prohibited from discriminating against any
Medicare eligible prospect . . . based upon their health status, except as permitted by CMS.” In
2018, the parties amended their agreement to say that eHealth was required to “make all
reasonable efforts to ensure that [eHealth] agents . . . [uJunderstand that it is a violation of CMS
regulations and they are strictly prohibited from discriminating against any Medicare eligible
prospect... based upon their . . . age, mental or physical disability, health status, receipt of
health care, claims experience, [or] medical history.”

170. Nonetheless, like Aetna, Humana repeatedly expressed concern to eHealth about
the percentage of U65 beneficiaries in the business eHealth was sending to Humana.

171. Humana made it clear that eHealth risked losing Humana’s sponsorship money if
eHealth did not reduce that percentage. For example, as noted above, Mr. Hakim reported to
Relator on July 14, 2017, that “Humana just called me about this same topic [the U65 mix] and
we need to assure them we will be in the mid 30% range to get marketing $$’s.”

172. Mr. Hakim subsequently monitored the U6s mix eHealth was delivering to
Humana. On December 14, 2017, for example, Mr. Hakim sent Relator a table showing that

33.4% of the MA business eHealth sent to Humana during the 2017 AEP was U65, and that the

44
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 45 of 66

U65 percentage for business that came through eHealth’s direct mail channel was 32.5%. In his
cover e-mail, Mr. Hakim asked “why isn’t our DM <65% way lower then [sic] this? I would
expect that to be in the 20% range.”

173. On February 27, 2018, Relator and several other eHealth executives met with a
large group of Humana executives at Humana’s offices in Louisville, Kentucky. During the
meeting, Humana executives presented a PowerPoint slide deck concerning eHealth’s
performance during the 2017 AEP. The slide deck included a slide showing the “eHealth:
Percentage of Sales Under Age 65” for each month from January 2011 through February 2018.
The slide showed that the U65% in the business from eHealth averaged 47% in 2017. The slide
thus reaffirmed that the U65 mix in the eHealth referrals remained a significant concern for
Humana.

174. On May 1, 2018, Mr. Breunig, the Humana National Sales Manager, sent his
eHealth counterpart an e-mail with an update that the “U65 [was] 37.6% [and] going in very
positive directions in comparison to the past and expect to continue to get better.” Mr. Breunig’s
e-mail attached a “Scorecard” that Humana maintained on the business it received from eHealth.
One of the metrics on the Scorecard was “Under 65%.”

175. In January 2019, Mr. Breunig provided eHealth with updated data showing that
the U65 percentages in the business from eHealth had declined in recent months. Mr. Breunig
commented that this was a “great change from last July,” and concluded by saying “Appreciate
the efforts!”

176. Mr. Rooney, the eHealth Vice President of Carrier Relations, forwarded

Mr. Breunig’s e-mail to Relator with a comment that “This is a huge help as we look to grow the

business / relationship.”

45
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 46 of 66

177. Inthe 2020 AEP, as Mr. Kinkead told relator in a September 2021 instant .
message chat, eHealth had brought the Humana U65 mix down to 13.5%, a “huge
improvement.”

178. On or about September 8, 2021, Humana provided eHealth with a current
“Scorecard.” Among other things, the Scorecard showed that, for the 2020 AEP period, Humana
paid eHealth $4,000,000 in sponsorship money and that, in exchange, eHealth delivered 45,396
MA enrollments to Humana during that period, for an average cost per sale of $88. During the
rest of 2020, according to the Scorecard, Humana paid eHealth $6,500,000 in sponsorship money
and, in exchange, eHealth delivered 48,510 MA enrollments to Humana during that period, for
an average cost per sale of $134. The Scorecard also continued to track the U65 mix in the MA
business eHealth sent to Humana; in 2019, the U65% was 25.8%, and, in 2020, it was 20:1%. An

image of that Scorecard is below:

46
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 47 of 66

EHEALTHINSURANCE SER

BQSESSRGaZ

179. Inthe period from January 1, 2018, through December 31, 2020, Humana paid
eHealth a total of at least $37,000,000 in sponsorship money, and eHealth referred to Humana

approximately 273,483 MA applications that Humana approved. eHealth forecasts receiving an

47
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 48 of 66

additional $10,825,000 from Humana in calendar year 2021, in exchange for delivering 45,500
additional MA enrollments to Humana.

D. WellCare’s Kickbacks to eHealth

180. In 2010, WellCare and eHealth entered into an agreement pursuant to which
WellCare paid eHealth commissions and annual renewal commissions at the maximum
allowable amounts, as well as administrative payments, for each MA and PDP enrollment
eHealth delivered to WellCare.

181. In June 2020, eHealth’s Mr. Rooney reported to Relator that WellCare was paying
commissions and renewal commissions at the maximum allowable amount, plus administrative
overrides of $150 or $200 per policy, depending on the state.

182. Like Aetna and Humana, WellCare also paid eHealth substantial amounts of
sponsorship money to induce referrals of MA business to WellCare. Thus, on March 20, 201 7,
Mr. Hakim told Relator in an e-mail that “Wellcare called today as their market leaders who
gave us marketing $$’s are not seeing the growth they [were] expecting for their investment. . . .
Can we look at ways to juice those markets in the near term[?]” A few hours later, as noted
above, Mr. Hakim reported to Relator and others that “[w]e also have a national deal for:
Wellcare which they have commitment $700K through AEP broken out by quarter and they can
cancel the spend with 30 days notice if we are not delivering.”

183. WellCare and eHealth papered the sponsorship payment arrangements in a series
of agreements, each called either an “Advertising Agreement” or a “Producer Marketing
Agreement.” Each agreement covered only a part of a year (in some cases, the periods
overlapped). These agreements included the following:

e Advertising Agreement for $450,000 for eHealth to “conduct a search marketing
program related to [WellCare’s] Medicare products in all regions in the United

48
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 49 of 66

States where [WellCare] offers Medicare Advantage products through eHealth
with a goal of attracting [customers who are Medicare eligible] to the eHealth
Call Center” during the period from June 20, 2016, through December 31, 2016.

e Amendment to Advertising Agreement for $25,000 for eHealth to “(a)increase its
level of effort in performing the Search Marketing Services in Mississippi,
Tennessee and Arkansas; and (b) perform certain marketing services related to
[WellCare’s] Medicare products in Mississippi, Tennessee and Arkansas, also

-with a goal of attracting users to the eHealth Call Center” during the period from
December 8, 2016, through December 31, 2016.

e Advertising Agreement for $700,000 for eHealth to “conduct a search marketing
program related to WellCare’s Medicare products in all regions in the United
States where WellCare offers Medicare Advantage products through eHealth with
a goal of attracting [customers who are Medicare eligible] to the eHealth Call
Center” during the period from February 1, 2017, through December 31, 2017.

° Advertising Agreement for $120,000 for eHealth to “conduct a search marketing
program related to WellCare’s Medicare products in Texas with a goal of
attracting [customers who are Medicare eligible] to the eHealth Call Center”
during the period from February 15, 2017, through June 15, 2017.

e Producer Marketing Agreement for $300,000 “for overhead and administrative
services” during the period from January 20, 2018, through April 30, 2018.

e Producer Marketing Agreement for $25,000 “for overhead and administrative
services” during the period from February 1, 2018, through March 1, 2018.

° Producer Marketing Agreement for $845,000 “for overhead and administrative
services” during the period from May 1, 2018, through December 30, 2018.

e Producer Marketing Agreement for $500,000 “for overhead and administrative
services” during the period from June 1, 2018, through December 31, 2018.

° Producer Marketing Agreement, for $775,000 “for overhead and administrative
services” during the period from January 1, 2019, through June 30, 2019. :

° Producer Marketing Agreement, for $2,500,000 “for overhead and administrative
services” during the period from July 1, 2019, through December 31, 2019.

e Producer Marketing Agreement, for $600,000 “for overhead and administrative
services” during the period from January 1, 2020, through March 31, 2020.

° Producer Marketing Agreement, for $600,000 “for overhead and administrative
services” during the period from April 1, 2020, through June 30, 2020.

49
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 50 of 66

e Producer Marketing Agreement, for $1,200,000 “for overhead and administrative
services” during the period from April 1, 2020, through June 30, 2020.

184. The payments WellCare made pursuant to these agreements were on top of the
administrative payments WellCare already was paying eHealth for each MA policy eHealth sold
for WellCare. In other words, although the agreements purported to call for WellCare to pay fair
market value for administrative costs eHealth incurred, WellCare already was separately paying
eHealth purported fair market value to cover those costs.

185. The real consideration for WellCare’s additional payments was new MA policies
that eHealth sold for WellCare. For example, in the fourth quarter of 2018, eHealth committed to
delivering 6,900 new MA policies to WellCare. In the fourth quarter of 2019, that figure had
jumped to 10,000 new MA policies.

186. For 2021, WellCare moved its sponsorship of eHealth into explicit per-policy
payments, on top of the administrative payments. Thus, in January 2021, Mr. Shasha explained
to Relator that WellCare was paying an administrative fee of $250 per policy, plus
approximately $200 per policy in “MDF.” MDF is an acronym for market development funds.
and is just another name for sponsorship money.

187. During an eHealth meeting on April 22, 2021, Tom Loach, an eHealth Director of
Carrier Relations, provided a further explanation of the latest WellCare contract:

[JJust a quick note on WellCare. Just to give you an idea of what, how the

contracts are working. WellCare, when they basically moved all their sponsorship

into the override, that came with, on paper at least, a lot of additional tasks and

items that we’re expected to cover in the pre-enrollment and the first 90 days of

the application receipt date. So, that’s their way of kind of getting around this

FMV and not tying it straight through a sponsorship or marketing per app piece.

So there are some additional items there. I would say it was pretty creative in the

way it was written. But at least there’s something, they’ve got some place to
defend.

50
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 51 of 66

188. In other words, categorizing the additional $200 per policy as MDF money was
just an attempt to make the sponsorship payments seem compliant with the law, even though
both WellCare and eHealth knew that the payments were illegal remuneration to induce eHealth
to generate MA business for WellCare.

189. The new payment rubric also enabled the parties to ensure that WellCare paid
eHealth for exactly what eHealth delivered. No longer would WellCare overpay if eHealth
underperformed relative to the target WellCare had set, nor would eHealth leave money on the
table if it overperformed.

190. Inor about the summer of 2021, WellCare also agreed to pay eHealth “renewal
bonuses” on top of the annual renewal commissions that the Medicare regulations permit, Cf 42
C.F.R. § 422.2274(d)(3). As Mr. Shasha explained in a chat with Relator on August 10, 2021,
“WellCare provided us a huge renewal bonus at $125 for month 15 and another $125 at month
26. We also got an additional $200 at issued app.”

191. These renewal bonuses incentivize eHealth not to recommend competing plans to
existing eHealth clients who have a WellCare MA plan that is up for renewal, even when plans
have changed over time and plans offered by other carriers might be better-suited for those
Medicare beneficiaries. In other words, the payments are merely a reward for eHealth achieving
a financially-desirable outcome for WellCare, regardless of the interests of Medicare
" beneficiaries.

192. In the period from January 1, 2018, through December 31, 2020, WellCare paid
eHealth a total of at least $15,165,001 in sponsorship money, and eHealth referred to WellCare

approximately 117,192 MA applications that WellCare approved. eHealth forecasts receiving an .

51
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 52 of 66

additional $10,964,546 from WellCare’s parent, Centene, in calendar year 2021, in exchange for
delivering 37,000 additional MA enrollments to WellCare and Centene.

E. Anthem’s Kickbacks to eHealth

193. In July 2010, Anthem and eHealth entered into a Field Marketing Organization
Agreement pursuant to which Anthem agreed to pay eHealth commissions and annual renewal
commissions at the maximum allowable amount, as well as administrative payments of $200 per
policy plus $100 more per policy each year a policy was renewed.

194. Beginning at least as early as 2017, Anthem also paid eHealth substantial
additional amounts in exchange for eHealth’s commitment to generate new MA policies for
Anthem and Amerigroup, a carrier that Anthem acquired in 2012. Apart from the Field
Marketing Organization Agreement, Anthem and eHealth entered into a series of additional
agreements, each called an “Advertising Agreement.” Each of these agreements called for
eHealth to “conduct a marketing program related to Anthem’s [or Amerigroup’s] Medicare
products... with a goal of attracting [Medicare eligible people] to the eHealth Call Center”
during a particular period of time, and sometimes in particular regions, in exchange for a
specified sum of money. These agreements include the following:

. For the period October 15, 2017, through December 7, 2017, $250,000 fora

‘marketing program . . . in Georgia, Indiana, Kentucky, Missouri, Ohio, -
Tennessee, and Wisconsin.”

. For the period October 15, 2017, through December 7, 2017, $100,000 for a
“marketing program . . . in Connecticut, Maine, New Hampshire, New Jersey and
Virginia.”

° For the period September 1, 2017, through December 7, 2017, $150, 000 for a
“marketing program . . . in Texas.”

. For the period November 14, 2017, through March 31, 2018, $350,000 for a
“marketing program” without any geographic limitation.

52
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 53 of 66

. For the period February 1, 2018, through March 31, 2018, $250,000 for a
“marketing program . . . in Georgia, Indiana, Kentucky, Missouri, Ohio,
Tennessee, and Wisconsin.”

. For the period February 1, 2018, through March 31, 2018, $150,000 for a -
“marketing program . . . in California, Nevada, Colorado, New Mexico, Texas
and Washington.”

° For the period April 1, 2018, through June 30, 2018, $250,000 for a “marketing

program .. . in Georgia, Indiana, Kentucky, Missouri, Ohio, Tennessee, and
Wisconsin.”

. For the period June 1, 2018, through September 30, 2018, $650,000 for a
“marketing program” without any geographic limitation. .

. For the period September 1, 2018, through September 30, 2018, $750, 000 for a
“marketing program” without any geographic limitation.

° For the period October 1, 2018, through December 31, 2018, $2,000,000 for a
“marketing program” without any geographic limitation.

° For the period January 1, 2019, through June 30, 2019, $2,800,000 for a :
“marketing program” without any geographic limitation.

195. Anthem’s purpose in making these various sponsorship payments was, as !
eHealth’s Ms. Dean reported in an e-mail on August 21, 2017, “to drive additional sales.”

196. For example, when Anthem agreed to pay $150,000 for a marketing program in
Texas from September 1, 2017, through December 7, 2017, Ms. Dean explained that “[t}he
expectation Anthem [h]as is 500-600 submits in Q4.”

197. Similarly, Mr. Hakim reported that, in negotiating the contract that ultimately
covered Georgia, Indiana, Kentucky, Missouri, Ohio, Tennessee, and Wisconsin during the
period February 1, 2018, through March 31, 2018, “[w]e told them we could do between 1,750
and 2,000 MA’s in the Central Region for 1-1 effective dates with their $250K investment which
they have agreed to pay us.”

198. Inearly 2018, eHealth presented Anthem with a proposal for Anthem to make a

“¢9 4M investment” with eHealth so that eHealth could “grow sales to over 13,000 total sent

33
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 54 of 66

applications” for Anthem. The proposal further noted that the “[c]lose rate is obtained based
upon Anthem branded advertising, dedicated 800# into call center, whisper into agent identifying
caller as Anthem lead, [and] agent screen pop with only Anthem plans displayed.”

199. About a year later, in the summer of 2019, Mr. Rooney sent an e-mail to Relator
about “Anthem Medicare Investments” and said: “As a reminder, Q4 volume commitment is
19K sent MA apps.”

200. In an e-mail chain in November 2019, when it appeared eHealth might miss this
19,000 MA application commitment, Mr. Ratkovic sent an e-mail to several eHealth executives
saying that “I believe Anthem is the highest or near the highest in comp, so we would see
meaningful impact in revenue and EBITDA in leaning into Anthem as well as the largest
opportunity for eH in 2020 for sponsorship revenue.”

201. On June 11,2021, Anthem and eHealth entered into an “Anthem Agency Call
Development Program Agreement.” Ostensibly, this agreement required Anthem to pay eHealth
$1,774,490 to cover expenses eHealth incurred during the second and third quarters of 2021 in
generating a minimum number of calls to eHealth call centers “from markets where Anthem or
_ its applicable affiliates are actively marketing Medicare Advantage plans.”

202. On October 13, 2021, Anthem and eHealth agreed that Anthem would pay
eHealth an additional $6,761,300 to cover expenses for generating additional calls in the fourth
quarter of 2021.

203. In fact, Anthem’s payments to eHealth under the Anthem Agency Call
Development Program Agreement were not contingent merely on eHealth generating calls to
eHealth call centers, but also on eHealth generating MA applications specifically for Anthem.

Mr. Loach confirmed as much in an instant message chat with Relator on September 30, 2021:

54
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 55 of 66

Relator: I disconnected from the team meeting right as you were giving an
update about Anthem marketing money. ...

Mr. Loach: — we lost $400K due to Q3 mniss [sic] but I was able to clawback
$154k for Q4.

Relator: What was Q3 miss? Applications you mean?

Mr. Loach: _ yes. We fell short of our commitments based on their investment.

204. Similarly, during a telephonic meeting on October 28, 2021, Mr. Shasha
confirmed that, “with Anthem there is a performance piece — it’s just achieving the goal and then
how they deal with it next year. Right. Are we coming into next year with another deficit and we
owe them production? Are we gonna be able to negotiate some of that away? Are they just gonna
say they’re not gonna do it anymore?”

205. Mr. Shasha subsequently elaborated:

I’m worried about Anthem. We monetized to the max to forecast with them on a

pre-fund. And it was split this year. Half goes into the override, half goes in the _

pre-fund. But they’re still funding that pre-fund at a max so there’s an expectation

that we get to that max production level. I think it’s 24,000 apps. .. .

206. Inthe period from anuary 1, 2018, through December 31, 2020, Anthem paid
eHealth a total of at least $37,468,266 in sponsorship money, and eHealth referred to Anthem
approximately 82,629 MA applications that Anthem approved. eHealth forecasts receiving an
additional $10,159,211 from Anthem in calendar year 2021, in exchange for delivering 22,000
additional MA enrollments to Anthem.

F. Devoted Health’s Kickbacks to eHealth

207. In April 2021, Devoted Health agreed to pay eHealth $200,000 in exchange for

eHealth’s commitment to deliver 400 Medicare insurance applications from Medicare

beneficiaries who were over 65 years old (i.e., not disabled Medicare beneficiaries). This

55
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 56 of 66

payment, as described further below, was on top of commissions and administrative payments
Devoted Health was already paying eHealth.

208. On November 24, 2020, Devoted Health and eHealth entered into a “Field
Marketing Organization Agreement” pursuant to which Devoted Health engaged eHealth to
market Devoted Health MA plans. Under the agreement, Devoted Health authorized eHealth to
perform various “marketing services,” including supporting Devoted Health educational and
marketing events, meeting with Medicare beneficiaries, and enrolling those beneficiaries:into
Devoted Health’s MA plans. For each enrollment into a Devoted Health plan from an application
that eHealth submitted, Devoted Health agreed to pay eHealth both (1) commissions at the
- maximum allowable amount and (2) an “Administrative Fee” of between $200 and $250
(depending on the state) for the initial enrollment year and between $12.50 and $14 per month
(depending on the state) thereafter.

209. Then, on April 2, 2021, Devoted Health and eHealth entered into a separate
agreement called a “Producer Marketing Agreement.” Under the terms of this agreement,
Devoted Health agreed to pay eHealth a flat fee of $200,000, purportedly in exchange for the
following “marketing, overhead and administrative services”:

° Administrative support of agents (i.e., general office overhead expenses, copiers,

computers)

° Payment for agent’s appointment fees

° Coordinate contracting, licensing and appointing efforts between agents and
[Devoted Health]

. Payment for direct mail

° Costs associated with internet marketing

° Payment for agent licenses, including non-resident licenses

. Direct response television

56
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 57 of 66

210. Schedule A to the Producer Marketing Agreement stated that the $200,000 fee for
‘ these services “must be based on Fair Market Value.”

211. In fact, eHealth was already performing all of these services and incurring these
costs as part of its efforts to obtain enrollments in Devoted Health’s MA plans pursuant to the
earlier Field Marketing Organization Agreement, which remained in effect.

212. The subsequent Producer Marketing Agreement’s description of services was
window dressing to cover up the parties’ actual intent, which was for Devoted Health to pay
eHealth $200,000 in exchange for a commitment by eHealth to obtain 400 Medicare insurance
plan enrollments for Devoted Health.

213. eHealth made the real purpose of Devoted Health’s $200,000 payment clear in its
internal communications about the agreement. On March 8, 2021, Mr. Kinkead, the eHealth
Director of Carrier Development, explained to his superiors that “we are entering into a
marketing services agreement with Devoted Health for Over 65 MA/MS/PDP products. The
construct of the deal is that they will pre-fund us $200,000 for 400 issued Apps.”

214. The parties omitted this guid pro quo language from their written agreement.
Similarly, the written agreement made no mention of the requirement that eHealth refer only
Medicare beneficiaries aged 65 and older to Devoted Health in exchange for the extra $200,000.

215. On October 31, 2021, Devoted Health and eHealth entered into an amendment to
their Producer Marketing Agreement providing for new additional fees beyond the commtissions
and administrative payments set forth in the Field Marketing Organization Agreement:

Fees for the CMS Annual Election Period (AEP) for calendar 2022 (October 15,

2021 to December 7, 2021) shall be as follows: [Devoted Health] shall pay

[eHealth] a one time payment of $800,000 after [eHealth] exceeds 2,000 Issued
Enrollments with a January 1, 2022 effective date. In addition, [Devoted Health]

57
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 58 of 66

shall pay [eHealth] $400 per Issued Enrollment above 2,000 Issued Enrollments |
with a January 1, 2022 effective date.

The amendment does not explain why, if the payments are for administrative expenses, Devoted
Health will not pay anything to eHealth if eHealth does not refer at least 2,000 enrollments to
Devoted Health during the 2021 AEP.

G. GoHealth’s Receipt of Kickbacks from Carriers

216. Like eHealth, GoHealth takes kickbacks from MA carriers in exchange for
referring MA business to them.

217. In 2020, according to its Annual Report, GoHealth’s “Enterprise” revenue
increased to over $206 million, an increase of 71.4 percent from 2019. This “Enterprise” .
revenue, according to the Annual Report, derives from “non-commission revenue sources, vee
[including] providing partner marketing and enrollment services, dedicated insurance agent
resources for carrier-specific programs, sales of insurance leads to other marketing agencies and
carriers, and the implementation and use of the Company’s platform.” The Annual Report further
explains that: “The Company . . . has arrangements with certain carriers that allow the Company
to increase marketing efforts, including through direct mail, television advertisements, and online
advertising for various insurance products that are being offered by these carriers. The Company
is reimbursed by carriers for the incremental marketing efforts and records the amounts received
as a reduction of the marketing costs incurred.”

218. In fact, the payments GoHealth obtained from carriers were not merely to cover

the cost of its “incremental marketing efforts,” but also for referral of specific amounts of MA

business.

58
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 59 of 66

219. As eHealth’s Mr: Ratkovic reported in an e-mail on October 19, 2019, “I have
heard from multiple sources that they [GoHealth] have received between $75-90M from Anthem
to deliver between 150-180K enrollments for 2020 effective dates.”

220. eHealth’s Brian Shasha, who previously worked at Molina Healthcare, an MA
carrier, subsequently confirmed that GoHealth takes sponsorship (or “Enterprise”) money from
carriers in exchange for commitments to deliver Medicare policies to them, and that GoHealth
steers Medicare business away from carriers that don’t pay it sponsorship money.

221. In an e-mail on November 12, 2020, Mr. Shasha noted that “[t]hey [GoHealth] are
willing to turn off their carriers when they hit their targets.” In other words, when GoHealth
fulfilled its MA policy commitment to a particular carrier during a particular period of time,
GoHealth would stop sending MA business to the carrier for the rest of the period unless 'that
carrier made an additional payment to GoHealth.

222. Inacall on September 16, 2021, Mr. Shasha elaborated on this practice, based on
his prior experience working at Molina:

I can tell you directly, within the last four years, the business presentation that

was put in front of me by GoHealth when I was at Molina was, “here’s the

amount of money we want, this is the amount of apps we’ll drive for that.” My

questions back were, “Well, what if you get over that number?” “We turn you

off.” “What if we decide not to fund you next year?” “We turn you off.”

H. SelectQuote’s Receipt of Kickbacks from MA Carriers

223. SelectQuote, too, has taken kickbacks from MA carriers in exchange for referring
MA business to them.

224. Select Quote’s latest annual report, filed August 26, 2021, explicitly

acknowledges that carriers provide it “with marketing development funds as additional

compensation to deliver policies. Marketing development funds are similar to production

59
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 60 of 66

bonuses in that they are based on attaining various predetermined target sales levels or other
agreed-upon objectives for individual insurance carrier partners.”

225. In other words, SelectQuote takes money from carriers that is separate from
commissions and, in exchange, refers MA business to them.

226. For the year ended June 30, 2021, SelectQuote reported that it received $19.5
million in such “marketing development funds.”

227. On August 27, 2021, Relator and his eHealth colleague, Mr. Streich, spoke by
telephone with Josh Matthews, SelectQuote’s Executive Vice President of Medicare Sales and
Operations, about the sponsorship money, or “marketing development funds,” that brokers
receive from MA carriers. Mr. Matthews explained that, “five years ago you did these deals,
small handshake deals in dark back rooms,” but he predicted that, “because the money is so big
now ... [t]here’s more scrutiny, gonna be more scrutiny . . . [and] I don’t think it’II last, no.”
Mr. Matthews further described these payment arrangements as a “loophole,” i.e. a way to
collect otherwise prohibited remuneration under the cover of administrative payments.

I. _ eHealth’s Kickbacks to AllScripts

228. While the Medicare marketing regulations permit payment to “individuals” of
referral fees up to $100 per referral, see 42 C.F.R. § 422.2274(f), eHealth has paid defendant
AllScripts fees of $175 or more per referral that resulted in an MA application.

229. In September 2019, eHealth and AllScripts entered into a “Non-Licensed Partner
Referral Agreement.” The agreement used the term “non-licensed” because AllScripts is not

licensed to sell health insurance. As a result, eHealth cannot share commissions with AllScripts.

60
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 61 of 66

230. Under the agreement, eHealth agreed to pay AllScripts $175 for each MA
application, $150 for each Medicare Supplement application, and $18.50 for each PDP »
application that eHealth submitted to a carrier as a result of a referral from AllScripts.

231. Effective September 30, 2020, the parties amended their agreement to provide
that eHealth also would reimburse AllScripts for any costs AllScripts incurred in undertaking
- direct mail campaigns on behalf of eHealth.

232. Further, pursuant to an amendment that eHealth and AllScripts signed on October
5, 2021, eHealth now pays AllScripts $191 for each MA application, $164 for each Medicare
Supplement application, and $20 for each PDP application that eHealth submits to a cartier asa
result of a referral from AllScripts.

233. Under the referral arrangement, AllScripts uses HIPAA-protected patient health
information on its EHR platform, which is called FollowMyHealth, to identify Medicare! eligible
people or people who are about to turn 65. AllScripts then uses direct mail, e-mail, and secure
messages on FollowMyHealth (which patients typically use only to communicate with their
health care providers) to contact those people about using eHealth to obtain anew Medicare
insurance policy. :

234. In 2020, pursuant to this arrangement, AllScripts sent eHealth referrals that led to
over 6,700 MA applications, as well as over 1,000 additional Medicare Supplement and PDP

applications, and eHealth paid AllScripts over $1 million in referral fees. The referrals from

eHealth generated over $6 million in booked revenue for eHealth.

61
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 62 of 66

J. Defendants’ Kickbacks Caused Harm to Medicare Consumers and to
Competition among Medicare Insurance Agents

235. The carrier defendants’ kickbacks to the broker defendants incentivized those
brokers and their agents to sell the carrier defendants’ plans even when those plans were not

necessarily in the best interests of the brokers’ Medicare beneficiary clients.

236. The kickbacks worked for the defendant carriers. At eHealth, for example, the
defendant carriers’ market shares were uniformly higher than the carriers’ national market

shares, as reflected in the following table:

Carrier 2018 2019 2020
eHealth Market Share 17.9% 19.2% | 21.1%
National Market Share 6.4% 7.4% 7.9%
Humana eHealth Market Share 20.9% 24.3% | 26.8%
National Market Share 18.5% 19.1% 19.7%

Aetna

WellCare eHealth Market Share 4.4% 5.6% 6.6%
National Market Share 4.1% 4.2% 4.8%
eHealth Market Share 6.2% 6.5% | 8.2%

Anthem —_ National Market Share | ~5.0% | ~5.2% | 6.0%

237. But the policies that eHealth, GoHealth, and SelectQuote sold as a result of the
carriers’ kickbacks often did not work out well for the Medicare beneficiaries who purchased
them.

238. eHealth, for example, has had a consistently high, and increasing, rate of
complaints involving Medicare plans that it sold. In 2019, eHealth’s rate of Medicare customer
complaints vs. submitted applications was 1%; in 2020, that rate was 1.1%, and in 2021 . as of
August 13, that rate was 1.8%. Many of the complaints involved allegations of enrollment
without consent, beneficiaries whose providers were not in plans’ networks, and abusive/high

pressure sales tactics. eHealth compliance personnel substantiated many of the complaints,

including the following:

62
Case 1:21-cv-11777-DJC Documenti Filed 11/02/21 Page 63 of 66

239.

In May 2019, an independent insurance agent in Kansas complained that, after an
eHealth agent convinced a Medicare beneficiary, who was undergoing expensive
cancer treatment, to switch from original Medicare and TRICARE (which
covered the beneficiary’s Medicare co-pays) to a Humana MA plan, the
beneficiary suddenly faced $17,000 in out of pocket costs because the
beneficiary’s providers were out of network.

In August 2019, a beneficiary’s son complained that the beneficiary felt misled
because the eHealth agent told him his coverage wouldn’t change with an MA
plan, and “[n]ow he has found out that has to use doctors and hospitals that are in
network. This was never explained.”

In September 2019, a beneficiary complained that she felt misled because she
sought a plan with prescription drug coverage, and the agent enrolled her into an
MA plan without drug coverage.

In March 2019, a beneficiary complained that “she never completed an

- application or gave anyone permission to enroll her into the Aetna plan.” |

In October 2019, a Medicare beneficiary complained that an eHealth agent had
convinced him to switch from a Humana MA plan to a WellCare MA plan only to
find out that the WellCare plan’s provider network did not include his providers.

In September 2019, a Medicare beneficiary complained that an eHealth agent
falsely told her that she would not lose her employer-sponsored health care
coverage if she switched to an Aetna Advantra plan.

In January 2020, a beneficiary complained that an agent told her that enrolling in
a Humana MA plan would not affect her Medicare, but then she found out that
she could not have a surgery she had scheduled for January 28, 2020, because the
providers did not accept the new plan.

Another consequence of eHealth’s aggressive, carrier-fueled sales tactics has been

a particularly high churn rate, i.e., the annual rate at which eHealth loses customers. From the

fourth quarter of 2018 through the first quarter of 2021, eHealth’s churn rate ranged from 31% to

38%. By the second quarter of 2021, according to an eHealth earnings call transcript, eHealth’s

churn rate had increased to 42%. eHealth’s churn rate was far higher than the national average

for MA brokers.

63
Case 1:21-cv-11777-DJC Documenti_ Filed 11/02/21 Page 64 of 66

240. eHealth used sponsorship money to make up for its substantial and ongoing loss
of revenue from policy commissions.

241. The sponsorship payments from the defendant carriers to tele-sales brokers like
eHealth, GoHealth, and SelectQuote also distorted the market and hindered competition from
independent insurance agents. With tens of millions of dollars in extra revenue from the
defendant carriers, eHealth, GoHealth, and SelectQuote have been able to flood cable television
channels with commercials, pay lead brokers to make millions of outbound telemarketing calls,
and send out millions of direct mail pieces to encourage Medicare beneficiaries to call agents in
their call centers. Meanwhile, independent insurance agents — who often meet with their
customers in person, devote significant effort to finding plans that will best serve their clients,
and generally have far lower churn and complaint rates — have no ability to engage in such
marketing activities.

242. Separately, eHealth’s payments to AllScripts caused AllScripts to use patients’
personal health information to refer those patients to eHealth, which then attempted to switch the
patients’ Medicare coverage, even when such switches may not have been in the patients’ best
interest.

VII. CAUSE OF ACTION

COUNT I
Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(A)

243. Relator re-alleges and incorporates by reference all paragraphs of this complaint
set out above as if fully set forth herein.

244, By virtue of the acts described above, Defendants knowingly presented or caused
to be presented materially false or fraudulent claims for payment or approval to the United States

in violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A); that is, Defendants knowingly

64
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 65 of 66

made or presented, or caused to be made or presented, to the United States claims for payment
for MA policies that were tainted by illegal kickbacks.

245. Payment of the false and fraudulent claims was a reasonable and foreseeable
consequence of Defendants’ conduct.

246. By reason of the foregoing, the United States has suffered actual damages and is
entitled to recover treble damages plus a civil monetary penalty for each false or fraudulent
claim.

VII. PRAYER FOR RELIEF
WHEREFORE, Relator demands and prays for the following relief:
1. That judgment be entered in favor of the United States for the amount of the
United States’ damages, trebled as required by law, and such civil penalties as are
required by law, together with all such further relief as may be just and proper;
2. An award to the Relator of a percentage of the proceeds of the action in |
accordance with 31 U.S.C. § 3730(d);

3. An award to the Relator of his costs and reasonable attorney’s fees for

prosecuting this action; and

4, All other relief as may be required or authorized by law and in the interests of

justice.

65
Case 1:21-cv-11777-DJC Document1 Filed 11/02/21 Page 66 of 66

IX. DEMAND FOR JURY TRIAL

Relator hereby demands a trial by jury.

Dated: November 2, 2021 Respectfully submitted,
ANDREW SHEA
By his attorney

/s/ Gregg Shapiro

Gregg Shapiro (BBO No. 642069)
Newman and Shapiro

1 Story Terrace

Marblehead, MA 01945

Tel: 617-582-3875

gshapiro@newmanshapiro.com

66
